       Case 1:08-cr-00086-ELH        Document 721        Filed 10/29/09       Page 1 of 58



                THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MARYLAND
                               *
UNITED STATES OF AMERICA
                               *           Criminal No. WDQ-08-086

Plaintiff,                                  *

v.                                          *

TAVON MOUZONE,                              *

Defendant.                                  *

*       *     *       *      *       *      *       *      *       *      *       *       *    *

                           REPORT AND RECOMMENDATION


        On February 21, 2008, Defendants Tavon Mouzone, Anthony Fleming, Sherman Pride,

Keili Dyson, Ronnie Thomas, and Jerrod Fenwick were indicted on charges of violating 18

U.S.C. § 1962(d), Conspiracy to Participate in a Racketeering Enterprise.1 Paper No. 1. Alleged

involvement in homicides underlay the Defendants’ charges. Id.

        On August 10, 2009, Defendant Mouzone filed a Motion to Suppress Firearms

Identification on the Basis of Scientific Invalidity (“Def.’s R. 702 Mot.”), Paper No. 566, and a

Motion to Suppress Firearms Identification (“Def.’s R. 16 Mot.”), Paper No. 565. In addition, on

September 24, 2009, he filed a Supplementary Affidavit in Support of Defendant Mouzone’s

Motion to Suppress Firearms Identification of the Basis of Scientific Invalidity and Motion to

Suppress Firearms Identification, , and an Affidavit of Adina Schwartz (“Aff.”). Paper Nos. 639,

639-1, & 639-2. To the Affidavit, Professor Schwartz attached Sergeant Mark K. Ensor’s




1
  Defendants Fleming, Dyson, Pride, and Fenwick were also indicted on other charges not
relevant to this Report and Recommendation. Paper No. 1.
      Case 1:08-cr-00086-ELH         Document 721       Filed 10/29/09     Page 2 of 58



laboratory reports of August 10, 2007 (“Report 1”); September 27, 2007 (“Report 2”); and July

23, 2008 (“Report 3”).2 Aff., Exs. A-C; Paper Nos. 639-3 – 639-5.

       On August 13, 2009, Defendant Anthony Fleming filed a Motion to Adopt Motion to

Suppress Firearms Expert Testimony, Paper No. 571, and on October 10, 2009, Defendant

Fleming filed a Motion to Adopt and Join Motion to Suppress Firearms Testimony, Paper No.

657, which Judge Quarles granted on October 14, 2009, Paper No. 663. On October 16, 2009,

the Government filed the Government’s Memorandum of Law in Opposition to Defendant Tavon

Mouzone’s Motion to Suppress Firearms Identification on the Basis of Scientific Invalidity.3

Paper No. 676. On October 21, 2009, Defendant Mouzone filed his Response to Government’s

Reply to Defendant’s Motion to Suppress Firearms Identification. Paper No. 689. Additionally,

Judge Quarles issued an order, Paper No. 688, on October 21, 2009, permitting any other co-

defendant to join in Mouzone’s motion.      Defendants Sherman Pride, Keili Dyson, Ronnie

Thomas, and Jerrod Fenwick did so.4 Paper Nos. 679, 681, 684, 690.

       On October 9, 2009, and October 16, 2009, in accordance with 28 U.S.C. § 636 and

Local Rules 301 and 302, Judge Quarles referred this case to me to conduct a hearing and

prepare a Report and Recommendation with regard to these motions to suppress evidence. Paper

Nos. 655 & 678. For the reasons stated herein, I recommend that Defendant Mouzone’s motion



2
  As discussed in further detail infra, Sgt. Ensor is a firearms examiner in the Firearms
Identification Unit of the Forensic Services Section of the Baltimore County Police Department.
3
 On October 9, 2009, the Court ordered that any opposition memorandum be filed by close of
business on October 14, 2009. Paper No. 660. And, on October 15, 2009, the Court granted the
Government’s October 14, 2009 request to extend the deadline to October 16, 2009 (Paper No.
668). Paper No. 671.
4
 For ease of understanding in this Report and Recommendation, I shall refer solely to Defendant
Mouzone’s motions. These references are meant to include the arguments adopted by
Mouzone’s co-defendants as well.
                                               2
      Case 1:08-cr-00086-ELH            Document 721         Filed 10/29/09      Page 3 of 58



be GRANTED IN PART and DENIED IN PART and, if adopted by Judge Quarles, this Report

and Recommendation will address the same issues adopted by all co-defendants who joined in

Mouzone’s motion. This Report and Recommendation addresses Paper Nos. 565, 566, 571, 639,

657, 676, and 689, as well as Paper Nos. 679, 681, 684, and 690, to the extent they pertain to

Defendant Mouzone’s motions.


       I.      Defendant Mouzone’s Rule 702 Motion


       As noted, the Defendant Mouzone’s charges stem from the allegation that he participated

in two homicides, one of which occurred on November 17, 2006, on Streeper Street in Baltimore

City, and the other of which occurred on December 17, 2006, on Rumelia Circle in Essex,

Baltimore County, Maryland. Def.’s R. 16 Mot. ¶ 1. The Government informed the Defendant

that “a Baltimore County firearms examiner . . . concluded that a “match” exists between the

cartridge casings found at the two scenes.” Id. ¶ 2.


       Anticipating that “the government will wish to introduce this testimony to a reasonable

degree of scientific certainty,”5 Defendant Mouzone contends that such testimony is inadmissible

under Fed. R. Evid. 702 because “comparisons of cartridge casing-to-cartridge casing are

unreliable” and “scientifically invalid.” Def.’s R. 702 Mot. ¶¶ 4, 8-9. Defendant Mouzone’s

objections to the evidence appear in Professor Schwartz’s Affidavit. Paper No. 639-2. Professor

Schwartz is a Professor at John Jay College of Criminal Justice and The Graduate Center, City

University of New York, and she has testified at hearings and provided affidavits in numerous

5
 At a hearing held October 26, 2009, the Government stated that it sought to introduce this
testimony “to a reasonable degree of technical certainty.” Hr’g Tr. 10/26/09.

        Because the trial is starting in less than a week and the transcript is not yet available for
specific page references, this Report and Recommendation refers generally to the hearing
transcript.
                                                   3
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 4 of 58



cases addressing this issue.6 E.g., United States v. Taylor, No. CR 07-1244, 2009 WL 3347485

(D.N.M. Oct. 9, 2009); United States v. Glynn, 578 F. Supp. 2d 567 (S.D.N.Y. 2008); United

States v. Diaz, No. 05-167, 2007 WL 485967 (N.D. Cal. Feb. 12, 2007) (unpublished); United

States v. Monteiro, 407 F. Supp. 2d 351 (D. Mass. 2006). The Affidavit challenges the

admissibility of firearm toolmark identification evidence in general and the admissibility of the

findings and opinions of Baltimore County firearms examiner Sergeant Mark Ensor in particular.

Aff. 4-49. Professor Schwartz asserts in her affidavit:


               1.      The assumption that firearm toolmarks are unique and reproducible “has

       not yet been fully demonstrated.” Aff. 7, ¶ 9.

               2.      Even if the required research were done, and it showed that firearm

       toolmarks were unique and reproducible, that still would not be sufficient to make

       toolmark identification a “science” because toolmark examiners have no reliable methods

       for determining whether different toolmarks were created by the same weapon. Aff. 9,

       ¶ 10.

               3.      Toolmark identification methods are unreliable because toolmark

       examiners are unable to isolate and identify toolmarks with individual characteristics

       from those with class or subclass characteristics. Aff. 10-11, ¶¶ 11-12.

               4.      There are three major difficulties preventing the reliable identification of

       “one and only one” weapon as the source of a specific toolmark. Aff. 12, ¶ 14.

               5.      The first difficulty is the practice of referring to different, overlapping

       types of marks as “individual characteristics.” For example, sometimes the term


6
 Although a prolific critic of firearm toolmark identification methodology, and a peripatetic
defense witness, Professor Schwartz is not herself a firearms toolmark examiner. United States
v. Monteiro, 407 F. Supp. 2d 351, 367 (D. Mass. 2006).
                                                 4
Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09    Page 5 of 58



“individual characteristics” is used to refer collectively to the microscopic markings that

comprise a unique toolmark; at other times “individual characteristics” is used to refer to

the individual components that, while not unique to any one tool, come together to

comprise an allegedly unique toolmark. Aff. 12, ¶ 14.

        6.      The second difficulty is that misidentifications occur when an examiner

presumes that the resemblance between the non-unique, overlapping, individual marks of

the test and evidence toolmarks is proof that the toolmarks were produced by the same

weapon, when such resemblance is possible in marks made by different weapons. Aff.

13, ¶ 15.

        7.      The third difficulty is that toolmarks produced by the same tool are not

always the same. Aff. 15, ¶ 17.

        8.      A toolmark can change overtime as the surface of an individual tool

changes due to use, damage, and corrosion. Aff. 16, ¶ 17.

        9.      As a result, sometimes differences in toolmarks are correctly attributed to

changes in the surfaces of a particular tool. At other times such a conclusion is wrong,

such as when differences in toolmarks exist because the marks were made by different,

albeit very similar, tools. Aff. 18, ¶ 18.

        10.     Differences in toolmarks made by the same tool may also occur because

the “pressure and velocity involved” when the tool and ammunition interact at firing “are

subject to intrinsic variation from shot to shot.” Aff. 17, ¶ 17.

        11.     Subclass characteristics that are made by more than one tool, such as

microscopic striations on bullets, may be confused with individual characteristics that can

be created by one and only one tool. Aff. 19, ¶ 19.



                                             5
Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 6 of 58



        12.      As the manufacturing process continues to improve, the shared subclass

characteristics of large numbers of weapons will increase the risk of misidentifications.

Aff. 23, ¶ 22.

        13.      Presently, no “strict rules” exist for determining whether a toolmark is

made by a subclass or individual characteristic. Aff. 21, ¶ 20.

        14.      Moreover, notwithstanding the “rules of thumb” present in some

publications, there exists no authoritative guidance regarding which tools or

manufacturing      processes    produce   tools   that   create   toolmarks   with   subclass

characteristics; instead, examiners rely on their personal familiarity and experience with

various tools, finishes, and forming. Aff. 21, ¶ 20.

        15.      There is an even greater risk of confusing these two classes of

characteristics when an examiner compares toolmarks from various component parts of

ammunition to determine whether they were produced by the same gun. Aff. 22, ¶ 21.

        16.      Because of the difficulties associated with reliably identifying whether a

particular toolmark has been created by a specific weapon, especially when toolmarks

from different weapons are sometimes very similar, and toolmarks from the same weapon

are occasionally somewhat different, identifications are naturally probabilistic. Aff. 24,

¶ 23.

        17.      The necessary empirical and statistical work required to overcome the

unreliability of the methods presently used has yet to be done. Aff. 26, ¶ 25; Aff. 27 ¶ 26.

        18.      Examiners are unable to articulate the criteria upon which they base their

conclusions; they rely instead on their experience, making each identification a subjective

determination. Aff. 26, ¶ 25.



                                          6
      Case 1:08-cr-00086-ELH             Document 721      Filed 10/29/09      Page 7 of 58



               19.     Toolmark examiners may disagree with each other if they are applying

       different criteria for concluding that a match exists. Aff. 35, ¶ 37.

               20.     The same toolmark examiner might even reach different conclusions in a

       particular case over time by applying different “mind’s eye identification criteria” to the

       same evidence. Aff. 35, ¶ 37.

               21.     Many examiners are not trained scientists, but rather technicians;

       therefore, they do not understand empirical and statistical studies regarding firearm

       toolmarks and the probabilities regarding the likelihood that another firearm could have

       made the toolmarks observed. Aff. 35, ¶ 36.

               22.     The Association of Firearm and Tool Mark Examiners (“AFTE”)7 theory

       of firearm toolmark identification provides no “objective guidance” regarding when an

       examiner should declare a match. Aff. 28, ¶ 27.

               23.     Examiners in different parts of the United States, based on their various

       experiences with differing weapons, will likely arrive at different conclusions regarding

       identifications. Aff. 29, ¶ 27.

               24.     Some examiners, but not a majority of them, rather than using the wholly

       subjective approach, employ the consecutive matching striae (“CMS”) criteria when

       attempting to identify toolmarks. Aff. 29, ¶ 28.

               25.     CMS, though better than the traditional subjective approach to toolmark

       identification, is nonetheless a “highly imperfect attempt to incorporate statistical

       empirical data into toolmark identifications.” Aff. 32, ¶ 32.




7
 AFTE is the leading proponent of the theory of firearms toolmark identification followed by the
vast majority of examiners.
                                                 7
Case 1:08-cr-00086-ELH            Document 721       Filed 10/29/09       Page 8 of 58



        26.     There are questions regarding whether the CMS criteria were derived from

databases that are relevant to and representative of firearm toolmarks. Aff. 33, ¶ 34.

        27.     CMS may not be a more objective method of toolmark identification, but

rather a way for examiners to describe their subjective observations when comparing

striated toolmarks. Aff. 31, ¶ 30.

        28.     Some argue that CMS is a subjective process because it essentially

amounts to line-counting. Aff. 33, ¶ 34.

        29.     CMS applies only to striated toolmarks, and not to breech face marks or

firing pin impressions, and only to individual, as opposed to subclass, characteristics. Aff.

32, ¶ 33.

        30.     Misapplication of the CMS criteria may result in misidentifications. Aff.

33, ¶ 33.

        31.     Without objective, strict criteria for determining whether toolmark

identifications are correct in a given case, it is impossible to calculate an error rate for the

discipline of firearm toolmark identifications. Aff. 36, ¶ 38.

        32.     The only widely used proficiency tests for firearm toolmark examiners,

the Collaborative Testing Services (“CTS”) tests, cannot provide an accurate error rate

because the tests are declared, as opposed to blind, thereby introducing the potential for

bias, and the proficiency test problems are simpler than the “real” firearm toolmark

identifications the examiners encounter in actual cases. Aff. 37, ¶ 39.

        33.     Because the only firearm the examiner is given is the one believed to be

evidence of a crime, confirmation bias also undermines the validity of toolmark

identifications. Aff. 40, ¶ 41.



                                           8
Case 1:08-cr-00086-ELH         Document 721           Filed 10/29/09   Page 9 of 58



       34.     Bias also can play a role in identifications if peer review of the original

examiner’s work is performed only when identifications are reached. Aff. 41, ¶ 41.

       35.     Because examiners work closely with law enforcement and prosecution,

bias can affect the examiners’ conclusions. Aff. 41, ¶ 42

       36.     Scrutiny by the scientific community at large might resolve some of the

problems surrounding toolmark identification, but access to firearm toolmark

publications is not largely accessible. Aff. 42, ¶ 43.

       37.     Many articles published in the AFTE Journal are not available on-line to

the public, even those willing to pay for it. On-line access is limited to AFTE members,

who must be practicing or students in the field of firearm toolmarks, and to honorary

members. Non-members may access hard copies of the AFTE Journal, but it is only

available at one school on the West Coast, and two on the East Coast. Aff. 42-43, ¶ 43.

       38.     The specific procedures in this case departed greatly from the widely

accepted practices within the field. Aff. 43, ¶ 44.

       39.     Sgt. Ensor failed to provide the documentation in support of his

conclusions that would make possible any meaningful peer review. Aff. 43, ¶ 44.

       40.     The three laboratory reports list “multiple, bare bones cartridge case and

bullet identification conclusions,” but fail to include “bench notes, diagrams,

photomicrographs or narrative descriptions” as to how the conclusions were reached. Aff.

46, ¶ 44.

       41.     The lack of documentation makes it impossible to determine the types of

toolmarks upon which the conclusions were based; the particular lands or grooves on the

various bullets on which the identifications were based; the extent of the resemblances



                                          9
     Case 1:08-cr-00086-ELH            Document 721         Filed 10/29/09   Page 10 of 58



       and differences between the toolmarks found on the various bullets and casings; whether

       and how the toolmarks were differentiated by class, subclass, and individual

       characteristics; and what criteria he relied upon in determining whether the resemblances

       were sufficient to support his conclusions. Aff. 46, ¶ 45.

               42.    Nothing in the documentation explains why or how Sgt. Ensor came to

       different conclusions on different dates, August 10, 2007 and September 27, 2007,

       regarding the same cartridge cases. Aff. 46, ¶ 45.

               43.    The only evidence of any peer review performed on Sgt. Ensor’s work is

       the signature of one other officer on the August 10, 2007 report. There exists no evidence

       that either the July 23, 2008 laboratory report, or the September 27, 2007 report was ever

       peer reviewed. Aff. 48, ¶ 46.

               44.    The peer review of the August 10, 2007 report did nothing to correct Sgt.

       Ensor’s failure to document the reasons for his conclusions, and there is no indication

       that the peer review was blind. Aff. 48, ¶ 46.

               45.    Because only one individual peer reviewed Sgt. Ensor’s laboratory report,

       the laboratory failed to follow operating procedures that provide that peer review should

       be performed “by a minimum of two personnel.”


       Professor Schwartz testified during the hearing held October 26, 2009, and her testimony

was consistent with her Affidavit, though it referred to additional reference materials. Hr’g Tr.

10/26/09.   While her Affidavit, which preceded the Defense’s receipt of the underlying

documentation from the Government, addressed the deficiencies in Sgt. Ensor’s methodology,

her testimony focused on the unreliability of firearm toolmark identification in general.




                                                10
      Case 1:08-cr-00086-ELH           Document 721       Filed 10/29/09      Page 11 of 58



       The Government contends that the Court should deny Defendant Mouzone’s motion and

“allow the government’s firearms experts to state their opinions as they wish,” because it would

be “consistent with the weight of authority . . . to allow the government’s firearms identification

witness to state an opinion to a reasonable degree of ballistic certainty . . . .” Gov.’s Opp’n 1, 5.

The Government contends that its experts “have extensive professional and training

qualifications, work in labs with thorough peer review, and maintained notes and reports

concerning their findings.” Gov.’s Opp’n 4 n.3. The Government also filed a motion on October

23, 2009, seeking to disqualify Professor Schwartz from testifying. Paper No. 695. Defendant

Mouzone has not had an opportunity to file an opposition. However, as I stated at the hearing,

this motion has not been referred to me for a report and recommendation, and is not directly

addressed herein. Hr’g Tr. 10/26/09.


       The hearing was held on October 26, 2009. Sgt. Ensor testified as a witness for the

Government, and Professor Schwartz testified for the defense. Hr’g Tr. 10/26/09. On October

23, 2009, Defendant Mouzone had filed documents in anticipation of the hearing, including

NATIONAL RESEARCH COUNCIL’S COMMITTEE ON IDENTIFYING THE NEEDS OF THE FORENSIC

SCIENCES COMMUNITY, STRENGTHENING FORENSIC SCIENCE IN THE UNITED STATES: A PATH

FORWARD 85-110, 127-82 (National Academies Press 2009) (“NRC Forensic Science Report”);8

Adina Schwartz, A Systemic Challenge to the Reliability and Admissibility of Firearms and

Toolmark Identification, 6 COLUM. SCI. & TECH. L. REV. 2 (2005) (“Schwartz”); Alfred Biasotti,

John Murdock, & Bruce R. Moran, Scientific Issues, in 4 MODERN SCIENTIFIC EVIDENCE 592-


8
 The National Research Council also published another report, BALLISTIC IMAGING (Nat’l
Academies Press 2008), which is discussed infra and in Glynn, 578 F. Supp. 2d at 572 & nn.7-8,
573, 574. “NRC Forensic Science Report” refers to the 2009 report; “NRC Ballistic Imaging
Report” refers to the 2008 report.


                                                 11
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09     Page 12 of 58



627 (2008-09); M.S. Bonfanti & J. De Kinder, The influence of manufacturing processes on the

identification of bullets and cartridge cases—a review of the literature, SCIENCE & JUSTICE

39(1): 3-10 (1999) (“Bonfanti”); and Professor Schwartz’s curriculum vitae. Paper No. 694, Ex.

1, 4-8 (Paper Nos. 694-2, 694-5 – 694-9). The Defense also submitted a series of additional

exhibits at the hearing, including: Alfred A. Biasotti & John Murdock, “Criteria for

Identification” or “State of the Art” of Firearm and Toolmark Identification, 16(4) AFTE

JOURNAL 16-34 (1984), Ex. 4; Standardization of Comparison Documentation, 38(1) AFTE

JOURNAL 72-73 (2006); and Detroit Police Department Firearms Unit: Preliminary Audit

Findings as of September 23, 2008, Ex. 5. Despite the offering of these exhibits on the eve of

the hearing and at the hearing, all were received as part of the record. Hr’g Tr. 10/26/09.


       A. Firearm Toolmark Identification Evidence

       The evidence that Defendant Mouzone seeks to suppress is expert testimony regarding

identifications of toolmarks made by a firearm. A toolmark is a mark “generated when a hard

object (tool) comes into contact with a relatively softer object,” such as the marks that result

“when the internal parts of a firearm make contact with the brass and lead that comprise

ammunition.” NRC Forensic Science Report at 150. A firearm’s internal components include

the barrel, the chamber, the breech face, the firing pin, the extractor, and the ejector, and these

components have “‘individual characteristics’” that result from manufacturing processes such as

“‘cutting, drilling, grinding, hand-filing, and, very occasionally, hand-polishing.’” Monteiro, 407

F. Supp. 2d at 359 (citation omitted). Most “individual characteristics” on a spent bullet stem

from the process that renders a gun barrel from a piece of solid steel:


               A first step of the process, drilling, results in a comparatively rough hole
       of uniform diameter extending from one end of the barrel to the other. Next the
       barrel is bored with a reamer, designed to produce as smooth a surface as possible

                                                 12
     Case 1:08-cr-00086-ELH            Document 721         Filed 10/29/09       Page 13 of 58



       on the inside of the barrel. The interior surface or bore bears numerous scars and
       scratches from this drilling process; it is these random imperfections—more so
       than subsequent steps—that are said to account for individual characteristics on
       fired bullets.
               Barrels [usually] are further subjected to a rifling process, creating a
       pattern of grooves on the inside the barrel.[9] . . . [T]he bullet impacts with the
       barrel rifling and is given a rotation . . . that gives the bullet a more direct flight. .
       . . The rifling may be created by forcing a carbide button through the reamed
       barrel; it is the normal wear on this button, as many riflings are performed, that is
       said to impart individual microscopic variability in markings in the barrel (along
       with residual scars or imperfections from the original drilling).
NATIONAL RESEARCH COUNCIL’S COMMITTEE TO ASSESS THE FEASIBILITY, ACCURACY AND

TECHNICAL CAPABILITY OF A NATIONAL BALLISTICS DATABASE, BALLISTIC IMAGING 31 (Nat’l

Academies Press 2008) (“NRC Ballistic Imaging Report”) (citations omitted).


       The NRC Ballistic Imaging Report also defined the other components of a firearm and

described their interactions with each other and the ammunition:


               The rear section (away from the muzzle) of the barrel bore is known as the
       chamber; it is designed and sized to fit a specific caliber of cartridge. The part of
       the firearm against which a cartridge sits when it is placed in the chamber is the
       breech, and the whole assembly may be referred to as the breechblock or breech
       bolt.
               The specific surface of the breech that makes contact with the base of the
       cartridge is the breech face . . . . The exact steps used to form the breech assembly
       can vary by manufacturer, and the breech face may vary in terms of the amount of
       filing or polishing done on it and whether any paint or other materials is applied
       to it. Basic filing can create gross striation marks in linear arrangements; in
       others, a rotary milling operation may be applied to the breech face surface,
       creating a pattern of concentric circles. These steps are crucial to the theory of
       firearms identification as it is random imperfections created in these machining
       and filing processes that is said to make the surface (and the negative impressions
       of said surface, left on fired cartridge casings) unique.
               A hole drilled through the breech assembly holds the firing pin, a very
       hard steel rod that can be forced to protrude from the breech to strike the primer
       of a cartridge seated in the chamber. While most firing pins have a small rounded

9
 The raised surfaces between the “grooves” of a gun barrel are referred to as “lands.” Diaz, 2007
WL 485967, at *1.
                                                  13
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09     Page 14 of 58



       end or nose, some have more distinctive shapes . . . . Firing pins are generally
       made on a standard screw machine. Like the breech face, the tip of the firing pin
       is subject to machining and filing steps that impart microscopic imperfections.
                                                ***
                Both revolvers and pistols make use of an extractor, typically a small arm
       that fits over the rim of the cartridge. As the name implies, the extractor serves to
       pull a spent cartridge from the chamber so that a new cartridge can take its place.
       In a revolver, the extractor—which can remove all cartridges simultaneously by
       depressing the ejection rod (or extractor rod)—also has ratchet notches that
       advance the cylinder to the next chamber. In a semiautomatic pistol, however, the
       extractor removes the cartridge so that it makes contact with the ejector, typically
       a fixed protuberance that strikes the rim of the cartridge. Because these steps are
       performed very quickly, and with some speed and force, both the extractor and
       ejector mechanisms can leave marks on expended cartridge casings.
Id. at 32-35 (citations and internal cross references omitted).


       To be sure, mass production of guns has replaced hand-manufacturing, and “guns are

mass-produced with even greater precision.” Glynn, 578 F. Supp. 2d at 572. Nonetheless, “the

final step in production of most firearm parts requires some degree of hand-filing which imparts

individual characteristics to the firearm part.” Monteiro, 407 F. Supp. 2d at 359.


       In Monteiro, Judge Saris explained how these components and their characteristics cause

toolmarks on bullets and cartridge casings:


               When a round (a single “shot”) of ammunition is fired from a particular
       firearm, the various components of the ammunition come into contact with the
       firearm at very high pressures. As a result, the individual markings on the firearm
       parts are transferred to the ammunition. The ammunition is composed primarily of
       the bullet and the cartridge case. The bullet is the missile-like component of the
       ammunition that is actually projected from the firearm, through the barrel, toward
       the target. . . . The cartridge case is the part of the ammunition situated behind the
       bullet containing the primer and propellant, the explosive mixture of chemicals
       that causes the bullet to be projected through the barrel. In the case of a semi-
       automatic handgun, once a round of ammunition is loaded into the chamber, and
       the gun is cocked, the shooter pulls the trigger, and the firing pin is released. The



                                                 14
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 15 of 58



       firing pin strikes the back of the cartridge case, igniting the primer in the
       ammunition, thus starting a chemical reaction, leading to

               the bullet being pushed down the barrel by the expanding gases.
               These gases also exert an equal and opposite force on the cartridge
               case which forces the slide and breechblock to the rear. This ejects
               the spent cartridge case through a port in the side, or occasionally
               top, of the slide.

               During this process, which occurs in a fraction of a second, the cartridge
       case comes into contact with several parts of the firearm, most notably the firing
       pin, as explained above, and the breech face, a flat surface behind the cartridge
       case against which the cartridge case is pushed by the expanding gases. When the
       cartridge case is “slammed into the standing breech face,” some of the individual
       toolmarks left on the breech face in the manufacturing process are replicated on
       the surface of the cartridge case. These toolmarks are referred to as “impressed”
       toolmarks. Other marks might be left on the ammunition when parts of the
       firearm, like the firing pin, the extractor, or the ejector, are moved across the
       cartridge case, and these are referred to as “striated” toolmarks.

Id. at 359-60 (citations omitted); see Diaz, 2007 WL 485967, at *1-2; NRC Ballistic Imaging

Report at 30-51; BRIAN J. HEARD, HANDBOOK OF FIREARMS AND BALLISTICS 127 (1997). In

addition, “the inner barrel of the gun imparts ‘rifling’ on the bullet.” Specifically, the lands make

“depressed ‘land impressions’” and the grooves make “raised ‘groove impressions.’” Diaz, 2007

WL 485967, at *1. And, there is a left or right “twist imparted on a bullet . . . , depending on the

direction of the lands and grooves.” Id.


       Firearm toolmarks are associated with a weapon’s class, subclass, and individual

characteristics. Monteiro, 407 F. Supp. 2d at 360; NRC Forensic Science Report at 152. Class

characteristics are “‘family resemblances which will be present in all weapons of the same make

and model.’” Monteiro, 407 F. Supp. 2d at 360. Examples of class characteristics include the

bullet’s weight and caliber; number and width of the lands and grooves in the gun’s barrel; and

the “twist” (direction of turn, i.e., clockwise or counterclockwise, of the rifling in the barrel).


                                                 15
      Case 1:08-cr-00086-ELH             Document 721    Filed 10/29/09      Page 16 of 58



Diaz, 2007 WL 485967, at *2. Class characteristics that cause toolmarks on spent cartridge

casings include the “caliber, type of breech face, and type of firing pin.” Id. A breech face may

be “parallel, arched, smooth, granular, or circular,” and a firing pin can leave an impression that

is “circular, rectangular, [or] elliptical.” Id.


        Subclass characteristics “are ‘produced incidental to manufacture’ and ‘can arise from a

source which changes over time,’ and therefore “may be present on a group of guns within a

certain make or model, such as those manufactured at a particular time and place.” Monteiro, 407

F. Supp. 2d at 360; Diaz, 2007 WL 485967, at *2; see NRC Ballistic Imaging Report, supra, at

58 (defining subclass characteristics as having three characteristics: they are “‘[p]roduced

incidental to manufacture’”; (2) “‘they relate to a small group source,’” i.e., “‘a subset of the

class to which they belong’”; and (3) they “‘[c]an arise from a source which changes over

time’”) (citation omitted). An example would include imperfections “on a rifling tool that

imparts similar toolmarks on a number of barrels before being modified either through use or

refinishing.” Ronald G. Nichols, Defending the Scientific Foundations of the Firearms and Tool

Mark Identification Discipline: Responding to Recent Challenges, 52 J. FORENSIC SCI. 586, 587

(2007) (“Nichols”).


        Individual characteristics are “‘[r]andom imperfections produced during manufacture or

caused by accidental damage . . . which are unique to that object and distinguish it from all

others.” Monteiro, 407 F. Supp. 2d at 360; see Diaz, 2007 WL 485967, at *2. However, non-

unique marks may comprise individual characteristics, and wear and tear cause individual

characteristics to change over time to some extent. Monteiro, 407 F. Supp. 2d at 360-61. Thus,

the toolmarks made on a bullet or cartridge casing include marks imposed by all weapons of the

make and model that fired the ammunition (class characteristics), marks common only to a

                                                   16
      Case 1:08-cr-00086-ELH           Document 721          Filed 10/29/09      Page 17 of 58



subset of that make and model (subclass characteristics), and marks unique to the weapon that

fired the ammunition (individual characteristics). Id. Sgt. Ensor testified that firearms toolmark

examiners will not declare a “match” based on class characteristics, and they endeavor not to

make a match based on subclass characteristics. Instead, they seek to make a match only on

individual characteristics.


       At the base of firearms identification is the theory that, based on correspondence among

toolmarks, a firearms examiner can discern matches among bullets, cartridge casings, and their

weapon of origin “[b]y using a ‘comparison microscope’ to compare ammunition test-fired from

a recovered gun with spent ammunition from a crime scene.” Monteiro, 407 F. Supp. 2d at 359;

see Diaz, 2007 WL 485967, at *3; NRC Forensic Science Report at 153; see also Glynn, 578 F.

Supp. 2d at 572 (“Firearm and toolmark analysis rests on the twin assumptions that the surface

contours of every gun are unique and that, every time that gun is fired, some of those unique

markings, along with markings caused by the act of firing itself, are transferred to the shell

casing and bullet, leaving distinctive patterns on each of them.”).




               Comparison microscope images of breech face and firing
               pin marks on a cartridge (l) and rifling marks on a bullet (r).
               Courtesy of Maine State Police Crime Lab.

       The process for subjective traditional pattern matching—the pervasive method of ballistic

toolmark analysis, see Diaz, 2007 WL 485967, at *9—is as follows:



                                                  17
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 18 of 58



       [A] firearms examiner presented with a handgun and spent cartridge cases will
       test fire the weapon using the same type of ammunition as that recovered in the
       case. The examiner will look at the test-fired cartridge cases and the recovered
       cartridge cases simultaneously using an instrument called a comparison
       microscope, which is necessary to overlay the images of the two shell casings.
       First put into use in 1925, the comparison microscope allows the examiner to
       compare the tiny markings left on the two cartridge cases. In theory, if the test
       cartridges and recovered cartridges were fired from the same gun, the examiner
       would see sufficient patterns of matching marks, supposedly leading to “a result
       as conclusive as fingerprints.”

Monteiro, 407 F. Supp. 2d at 361; see JULIAN S. HATCHER, FRANK J. JURY & JAC WELLER,

FIREARMS INVESTIGATION, IDENTIFICATION, AND EVIDENCE 15 (2d ed. 1957) (identified in

Monteiro, 407 F. Supp. 2d at 368 as “the leading treatise in the field”). The examiner may reach

one of three conclusions:


       The examiner can make: (1) an “identification” of the components, concluding
       that they came from the same source; (2) an “elimination” of the components,
       concluding that they did not come from the same source; and (3) “inconclusive,”
       meaning that there is not enough evidence to identify whether the components
       either do or do not come from the same source. In the parlance of firearm
       examiners, if there is sufficient agreement to make an identification, a firearm
       examiner often states that the chance that another firearm could have made the
       mark is a “practical impossibility.”

Diaz, 2007 WL 485967, at *3.

       “A perfect correspondence between the lines on a test-fired cartridge and the evidence

recovered from the scene is impossible; in the real world, there is no such thing as a ‘perfect

match.’” Monteiro, 407 F. Supp. 2d at 362 (quoting Alfred A. Biasotti, A Statistical Study of the

Individual Characteristics of Fired Bullets, 4 J. FORENSIC SCI. 34, 44 (1959) (“Biasotti: 1959”)

(noting the “erroneous conception of a ‘perfect match’ which is actually only a theoretical

possibility and a practical impossibility”)). Indeed, Biasotti’s 1959 study revealed that “only 21-

38 percent of the marks will match up on bullets fired from the same gun.” Id. at 362. The


                                                18
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09     Page 19 of 58



significance of that figure comes to light when it is noted that a correspondence between 15-20

percent of the marks of “bullets fired by two different .38 special Smith & Wesson revolvers of

the same make and model” has been observed.           Id.; see Diaz, 2007 WL 485967, at *12

(“According to Schwartz, Biasotti found that there was a 15-24% overlap in matching striae

between bullets fired from different guns.”).


       Thus, according to the AFTE, a match exists “when the unique surface contours of two

toolmarks are in ‘sufficient agreement.’” Monteiro, 407 F. Supp. 2d at 363 (quoting Theory of

Identification, 30 AFTE J. 86, 86 (1998) (“AFTE Theory”)); see Glynn, 578 F. Supp. 2d at 571-

72; NRC Forensic Science Report at 153. “Sufficient agreement” is defined in terms of “‘the

significant duplication of random toolmarks,’” and “‘[a]greement is significant when it exceeds

the best agreement demonstrated between tool marks known to have been produced by different

tools and is consistent with the agreement demonstrated by tool marks known to have been

produced by the same tool.’” Monteiro, 407 F. Supp. 2d at 363 (quoting AFTE Theory at 86).

Put another way, among those who subscribe to the AFTE theory of toolmark identification,

“[t]he statement that ‘sufficient agreement’ exists between two toolmarks means that the

likelihood that another tool could have made the mark is so remote as to be considered a

practical impossibility.” Id. (quoting AFTE Theory at 86); see Nichols, supra, at 589.


       The AFTE acknowledges that “‘the interpretation of individualization/identification is

subjective in nature, founded on scientific principles and based on the examiner’s training and

experience.’” Monteiro, 407 F. Supp. 2d at 363 (quoting AFTE Theory at 86). At the hearing,

Sgt. Ensor agreed that the interpretation of observed characteristics by a toolmark examiner is a

subjective process. Hr’g Tr. 10/26/09. Agreeing that it “is largely a subjective determination,”

Monteiro, 407 F. Supp. 2d at 355, the Monteiro court elaborated: “This conclusion is not based

                                                19
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 20 of 58



on any quantitative standard for how many striations or marks need to match or line up. Instead,

it is based on a holistic assessment of what the examiner sees.” Id. at 364. In Glynn, the court

observed that the requirement that “sufficient agreement” must exist for an examiner to declare a

match “is inherently vague,” and “ballistics opinions are significantly subjective.” 10 578 F.

Supp. 2d at 572; cf. Diaz, 2007 WL 485967, at *1, 8 (“the standards and criteria for traditional

pattern matching are subjective,” but “it is the subjective judgment of trained professionals with

a keen practiced eye for discerning the extent of matching patterns”). The subjective evaluation

leaves substantial latitude in reaching conclusions. 11 Indeed, the AFTE’s most ardent supporter,

Ronald Nichols of the Bureau of Alcohol, Tobacco, Firearms and Explosives Laboratory

Services (“ATF Bureau”), San Francisco, acknowledges the subjective component of toolmark

examiners undertaking to discern “sufficient agreement” in a toolmark identification, stating that


10
  The term “ballistics” is a misnomer if used to describe bullet or cartridge identification.
“Ballistics is the study of flying projectiles, including bullets. Toolmark analysis, the technique
used in this case, involves the study of marks made by tools, such as the marks a gun imprints on
bullets or shell casings.” United States v. Green, 405 F. Supp. 2d 104, 118 (D. Mass. 2005).
11
   Because the traditional approach of pattern matching lacks an objective standard, some
firearms examiners rely instead on an approach involving consecutively matching striae
(“CMS”). Monteiro, 407 F. Supp. 2d at 370. “CMS is an attempt to eliminate some of the
subjectivity of firearms identification by using an ‘objective’ consideration of ‘matching striae’
to “add some quantification to an examination so that there is some numerical and statistical data
to support an examiner's conclusion of an identification.” Diaz, 2007 WL 485967, at *3. Under
CMS, examiners look at “runs” of striae, i.e., groups of closely aligned striae on a bullet, and
they consider the number of consecutive striae that match between bullets. Monteiro, 407 F.
Supp. 2d at 370. (CMS is not applied to cartridge casings. Diaz, 2007 WL 485967, at *3.)
Correspondence between one 6-line run of striae or two 3-line runs of striae permits an
identification. Monteiro, 407 F. Supp. 2d at 370. CMS analysis has yet to be adopted by a
majority of toolmark examiners, however. “Although CMS is a widely accepted protocol which
has been scientifically validated, it is not the predominant standard in the field according to
AFTE.” Id. Further, “[t]o the critics, CMS necessarily involves some subjectivity” because an
examiner must “count points of identification and . . . different examiners might count points
differently.” Diaz, 2007 WL 485967, at *12. Sgt. Ensor testified that CMS was not used as a
method of making the identification at issue in this case, and that CMS is not generally used by
most firearms toolmark examiners. Hr’g Tr. 10/26/09.

                                                20
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 21 of 58



“there is no universal agreement as to how much correspondence exceeds the best-known

nonmatching situation.” Nichols, supra, at 589.


       In an effort to bridge the gap in this subjective process to bolster findings of “sufficient

agreement,” the AFTE “established standards for intellectual rigor” and accepted methodology

mandate (1) the “documentation of the reasons for concluding there is a match” in a particular

examination (including, where appropriate, diagrams, photographs or written descriptions), and

(2) the “peer review” (more accurately viewed as obtaining a second opinion from another

qualified firearms and toolmark examiner on a match that has been found) of the primary

examiner’s conclusion by a second examiner. See Monteiro, 407 F. Supp. 2d at 355; Diaz, 2007

WL 485967, at *5; Hatcher, supra, at 383, 445. The AFTE standard provides:


                The case record must contain documentation of the observations that serve
       as the basis for a reported conclusion. Laboratories are afforded latitude in
       establishing how this should be accomplished. At a minimum, the documentation
       must include interpretable depictions or descriptions of the agreement or
       disagreement of individual and/or class characteristics to the extent that another
       qualified firearm and toolmark examiner, without the benefit of the evidence
       itself, can review the case record, understand what was compared, and evaluate
       why the examiner arrived at the reported conclusion. . . . The case record must
       clearly describe or label what items are depicted.
Standardization of Comparison Documentation, supra, at 72-73.           Sgt. Ensor testified that

photographs suffice for “interpretable depictions or descriptions of the agreement.” Hr’g Tr.

10/26/09.


       Indeed, when, as with firearms toolmark identification, admissibility of the examiner’s

opinion as to the existence of a match is predicated on the examiner’s experience, it is essential

that the examiner provide a sufficient explanation for the basis of the opinion. As noted by the

Advisory Committee Note to Fed. R. Evid. 702:



                                                  21
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 22 of 58



              If the witness is relying solely or primarily on experience, then the witness
       must explain how that experience leads to the conclusion reached, why that
       experience is a sufficient basis for the opinion, and how that experience is reliably
       applied to the facts. The trial court's gatekeeping function requires more than
       simply “taking the expert's word for it.”

       The twin requirements of adequate documentation and peer review of the primary

examiner’s results are said to “ensure the reliability of the expert's results and the testability of

the opinion.” Monteiro, 407 F. Supp. 2d at 355; see United States v. Crisp, 324 F.3d 261, 269

(4th Cir. 2003) (citing “peer review . . . and double checking” among factors establishing

“uniform standards” and weighing in favor of admission of fingerprint evidence as reliable).

Without them, courts that have gone the farthest in undertaking an analysis of the reliability of

firearms toolmark identification methodology have been reluctant to admit such evidence. See,

e.g., Monteiro, 407 F. Supp. 2d at 374 (excluding opinions of firearms examiner who failed to

document the basis for his findings, and failed to subject them to peer review).


       In the words of a firearms toolmark examiner:

       [F]or our work to be valid, it must be verifiable to other examiners. This means
       that other examiners must be able to repeat the work and come to the same
       conclusions. Therefore, the data that we gather should provide a well-defined
       “roadmap” as to what experiments we performed to answer the question(s) posed,
       what data was gathered, and a clear demonstration of the evidence from which we
       supported our conclusion(s). This mechanism of communication among scientists
       is a substantial part of the process of verification.

Id. at 368 (quoting Bruce Moran, Photo Documentation of Toolmark Identifications-An

Argument in Support, 35 AFTE J. 174, 181 (2003) and noting that the Government’s expert, an

operations officer for the forensic laboratories at the ATF Bureau, concurred); see AMERICAN

SOCIETY OF CRIME LABORATORY DIRECTORS, LABORATORY ACCREDITATION BOARD MANUAL 29

(1997) (stating that “documentation to support conclusions must be such that in the absence of


                                                 22
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 23 of 58



the examiner, another competent examiner or supervisor could evaluate what was done and

interpret the data”); Hatcher, supra, at 445 (stating that “firearms expert must not only do his

work meticulously, accurately, and efficiently; he must also report his findings in the same

manner”).    Sgt. Ensor acknowledged during his testimony that the documentation of an

examiner’s findings as well as the review of match results by another examiner were essential

components of the proper methodology required by the AFTE theory.

       B. Legal Framework for Determining the Admissibility of Toolmark Identification
          Evidence

       The Federal Rules of Evidence charge the district court with determining “[p]reliminary

questions concerning the qualification of a person to be a witness, the existence of a privilege, or

the admissibility of evidence,” Fed. R. Evid. 104(a), such as the question of admissibility under

Fed. R. Evid. 702. The Court must “ensur[e] that an expert’s testimony both rests on a reliable

foundation and is relevant to the task at hand.” Daubert v. Merrell Dow Pharms., 509 U.S. 579,

597 (1993). Rule 702 provides indicia of reliability for the district court to consider: “(1)

[whether] the testimony is based upon sufficient facts or data, (2) [whether] the testimony is the

product of reliable principles and methods, and (3) [whether] the witness has applied the

principles and methods reliably to the facts of the case.” To be admissible under Rule 702, in

addition to being reliable, testimony must be relevant, helpful, and “fit”:


       Expert testimony which does not relate to any issue in the case is not relevant and,
       ergo, non-helpful. An additional consideration under Rule 702—and another
       aspect of relevancy—is whether expert testimony proffered in the case is
       sufficiently tied to the facts of the case that it will aid the jury in resolving a
       factual dispute. The consideration has been aptly described . . . as one of “fit.”

Daubert, 509 U.S. at 591.




                                                 23
     Case 1:08-cr-00086-ELH           Document 721        Filed 10/29/09      Page 24 of 58



       As explained in Daubert, a district court assesses whether proffered scientific,

specialized, or technical evidence meets the requirements of relevance, reliability, helpfulness,

and fit by considering five non-exclusive factors: (1) “whether a theory or technique . . . can be

(and has been) tested”; (2) “whether the theory or technique has been subjected to peer review

and publication”; (3) “the known or potential rate of error”; (4) “the existence and maintenance

of standards controlling the technique's operation”; and (5) whether the theory or technique has

gained “‘general acceptance’” in the “relevant scientific community.” Id. at 593-94 (citation

omitted). However, the Supreme Court emphasized that the inquiry was “flexible,” with a

“focus . . . on principles and methodology, not on the conclusions that they generate.” Id. at 594-

95; see Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999) (“Daubert’s list of specific

factors neither necessarily nor exclusively applies to all experts or in every case.”). Also, “while

the basic requirements of reliability—as they are now articulated in Rule 702—apply across the

board to all expert testimony, the more particular standards for scientific evidence need not be

met when the testimony offered does not purport to be ‘science.’” Glynn, 578 F. Supp. 2d at 570

(citing Kumho Tire, 526 U.S. at 151-52).


       The Daubert factors apply to established and novel theories and techniques alike,

although “well-established propositions are less likely to be challenged than those that are novel,

and they are more handily defended.” Daubert, 509 U.S. at 592 n.11. Nonetheless, federal

courts, almost without exception, have admitted toolmark evidence, often without applying the

Daubert factors. See Glynn, 578 F. Supp. 2d at 569 (“[F]or many decades ballistics testimony

was accepted almost without question in most federal courts in the United States.”); Monteiro,

407 F. Supp. 2d at 364 (characterizing prior admissions of toolmark identification testimony as

“semi-automatic,” although ruling that a particular examiner could not testify for failure to


                                                24
      Case 1:08-cr-00086-ELH           Document 721        Filed 10/29/09       Page 25 of 58



document his findings or have his conclusions reviewed); United States v. Santiago, 199 F. Supp.

2d 101, 111 (S.D.N.Y. 2002) (noting that the “Court has not found a single case in [the Second]

Circuit that would suggest that the entire field of ballistics identification is unreliable”; declaring

that “the Supreme Court’s decisions in Daubert and Kumho Tire, did not call this entire field of

expert analysis into question”).    See also United States v. Hicks, 389 F.3d 514, 526 (5th Cir.

2004) (“[T]he matching of spent shell casings to the weapon that fired them has been a

recognized method of ballistics testing in this circuit for decades.”); Taylor, 2009 WL 3347485,

at *9 (concluding that “firearms identification testimony is admissible under Rule 702 and

Daubert”);12 United States v. Pugh, No. 08-cr-00130, 2009 WL 2928757, at *9-10 (S.D. Miss.

2009) (concluding that expert testimony on firearm toolmark identification was properly

admitted because “[m]atching spent shell casings to the weapon that fired them is a recognized

method of ballistics testing” and “firearm comparison testing has widespread acceptance in [the

Fifth] Circuit”); Diaz, 2007 WL 485967, at *5 (Firearm toolmark identification testimony “‘is

admissible in every American jurisdiction.        At least 37 jurisdictions have approved it by

appellate opinion.’ . . . No reported decision has ever excluded firearms-identification expert

testimony under Daubert.”); United States v. Foster, 300 F. Supp. 2d 375 (D. Md. 2004) (noting

“the general reliability of the science of ballistics”; that “[b]allistics evidence has been accepted

in criminal cases for many years”; and that “[i]n the years since Daubert, numerous cases have

12
  In another Memorandum Opinion and Order issued in United States v. Taylor, No. CR 07-1244
(D.N.M. Sept. 30, 2009) (unpublished), the court granted the Government’s motion to exclude
Schwartz’s expert testimony at trial (while allowing it at the hearing) because the court found
that Professor Schwartz was “not a firearms examiner” and “not qualified by knowledge, skill,
training, education, or any other means to give opinion testimony in which she disagrees (or
agrees, for that matter) with the specific conclusions of the Government’s firearms examiner.”
Slip op. at 5. Further, it “seriously question[ed] the reliability of her methodology.” Id. at 13.
Also, noting that it was not aware of “any case in which Dr. Schwartz was allowed to testify as
an expert in front of a jury at trial,” the court found that her trial testimony “would not be very
helpful to the jury” and “would very likely confuse the jury.” Id. at 12.

                                                  25
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 26 of 58



confirmed the reliability of ballistics identification”). Cf. United States v. Green, 405 F. Supp. 2d

104, 108 (D. Mass. 2005) (admitting evidence despite “serious reservations” because “every

single court post-Daubert has admitted this testimony, sometimes without any searching

review”) (emphasis in Green). But see Sexton v. State, 93 S.W.3d 96, 101 (Tex. Crim. App. Ct.

2002) (concluding that district court erred in allowing testimony regarding toolmark

identification of unfired cartridge casings because government failed to establish reliability, even

though “underlying theory of toolmark examination could be reliable in a given case”); Ramirez

v. State, 810 So. 2d 836, 849 (Fla. 2001) (finding inadmissible under Frye expert toolmark

testimony identifying match with “absolute certainty” but lacking “the hallmarks of acceptability

that apply in the relevant scientific community to this type of evidence”).


        Recent cases reflect concerns about the admissibility of firearm toolmark identification

testimony. In United States v. Williams, 506 F.3d 151 (2d Cir. 2007), while concluding that the

Government’s firearms identification expert’s methodology “satisfied” Daubert, the Second

Circuit cautioned that its opinion should not “be taken as saying that any proffered ballistic

expert should be routinely admitted.” Id. at 161. It noted that Daubert did not “‘grandfather’ or

protect from Daubert scrutiny evidence that had previously been admitted under Frye [v. United

States, 293 F. 1013 (1923)].” Id. at 162. The Williams Court explained that past acceptance

does not render expert testimony admissible; rather, “expert testimony long assumed reliable

before Rule 702 must nonetheless be subject to the careful examination that Daubert and Kumho

Tire require.” Id. Given the publication of the NRC Forensic Science Report in 2009 and the

NRC Ballistic Imaging Report in 2008—two reports (discussed infra) which I find to be

particularly credible in evaluating the scientific status, vel non, of firearms toolmark

identification methodology— I find particularly compelling the caveat expressed by the Williams


                                                 26
      Case 1:08-cr-00086-ELH         Document 721        Filed 10/29/09     Page 27 of 58



Court not to “grandfather” admissibility of evidence merely because it has been universally

admitted in the past.


       In Green, 405 F. Supp. 2d 104, the court also acknowledged that district courts are

“obliged to critically evaluate toolmark and ballistics evidence, even though it has been accepted

for years pre-Kumho,” because failure “to do so would be equivalent to ‘grandfathering old

irrationality.’” Id. at 118 (footnote and citation omitted). The Green court warned: “The more

courts admit this type of toolmark evidence without requiring documentation, proficiency

testing, or evidence of reliability, the more sloppy practices will endure; we should require

more.” Id. at 109. Further, it observed that “recent reexaminations of relatively established

forensic testimony have produced striking results,” such as that “forensic testing errors were

responsible for wrongful convictions in 63%” of the cases in one study. Id. at 109 n.6.


       Nor have the courts been the only institution to acknowledge the growing concern

regarding the reliability of long-accepted forensic methodology.        In 2006, pursuant to a

Congressional mandate, the National Academy of Sciences established a committee “‘to conduct

a study on forensic science,’” NRC Forensic Science Report, supra, at 2 (quoting P.L. No. 109-

08, 119 Stat. 2290 (2005)), and the resulting report, published in 2009, heightens these concerns.

The committee was charged with, inter alia, “‘disseminat[ing] best practices and guidelines

concerning the collection and analysis of forensic evidence to help ensure quality and

consistency in the use of forensic technologies and techniques to solve crimes, investigate

deaths, and protect the public.’” Id. (quoting S. Rep. No. 109-88, at 46 (2005)). It specifically

addressed firearms examination, toolmarks, and “the use of forensic evidence in criminal . . .

litigation,” including “the manner in which forensic practitioners testify in court”; “cases



                                               27
      Case 1:08-cr-00086-ELH          Document 721       Filed 10/29/09     Page 28 of 58



involving the misinterpretation of forensic evidence”; and “judges’ handling of forensic

evidence.” 13 Id. at 3-4.


        According to the NRC Forensic Science Report, other than nuclear DNA analysis “‘no

forensic method has been rigorously shown to have the capacity to consistently, and with a high

degree of certainty, demonstrate a connection between evidence and a specific individual or

source.” Id. at 8. The NRC Forensic Science Report pointed out that toolmark identification tests

“have never been exposed to stringent scientific scrutiny.” Id. at 42. The Report noted that it is

“challenging” for an examiner to determine “the extent of agreement in marks made by different

tools, and the extent of variation in marks made by the same tool.” Id. at 153. Moreover, it said

that “these decisions involve subjective qualitative judgments by examiners,” and “the accuracy

of examiners’ assessments is highly dependent on their skill and training,” gained through “past

casework” and/or “extensive training programs using known samples.” Id. It emphasized that

“the final determination of a match is always done through direct physical comparison of the

evidence by a firearms examiner, not the computer analysis of images,” and the examiner makes

“a subjective decision based on unarticulated standards and no statistical foundation for

estimation of error rates.” Id. at 153-54.


        With regard to toolmark evidence, the NRC Forensic Science Report concluded:

        Because not enough is known about the variabilities among individual tools and
        guns, we are not able to specify how many points of similarity are necessary for a

13
  The Government contends that the NRC Forensic Science Report did not “take into account the
holdings of the cases” admitting toolmark identification testimony, and that “the factors to be
considered under Daubert take much more than precision and repetition into consideration.”
Gov.’s Opp’n 6. I disagree. See NRC Forensic Science Report at 107-08 & n.82 (discussing
Glynn, Monteiro, Green, and Diaz, yet expressing concerns about the reliability of the
methodology); NRC Ballistic Imaging Report at 83-84 (discussing Monteiro, Green, and Diaz,
yet expressing concerns about the reliability of the methodology).

                                               28
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 29 of 58



        given level of confidence in the result. Sufficient studies have not been done to
        understand the reliability and repeatability of the methods. The committee agrees
        that class characteristics are helpful in narrowing the pool of tools that may have
        left a distinctive mark. Individual patterns from manufacture or from wear might,
        in some cases, be distinctive enough to suggest one particular source, but
        additional studies should be performed to make the process of individualization
        more precise and repeatable.

Id. at 154. Moreover, it characterized the lack of a specific protocol for toolmark analysis as a

“fundamental problem,” reasoning that toolmark analysis guidance provided by the AFTE lacks

specificity because it allows an examiner to identify a match based on “sufficient agreement,”

which the AFTE defines using the undefined terms “exceeds the best agreement” and “consistent

with.” 14 Id. at 155.


        The NRC’s earlier report, the NRC Ballistic Imaging Report, identified similar concerns.

The National Research Council assembled a committee to determine whether a national ballistics

database was feasible, and if so, whether it would be accurate and what its technical capabilities

14
   Despite this pointed expression of concern by the NRC regarding a fundamental shortcoming
in assessing the reliability of toolmark evidence, proponents of the AFTE methodology appear to
be at a loss as to how to address it, other than by dismissing it. Indeed, the AFTE’s most vocal
supporter, Nichols of the ATF Bureau, attempts to address the NRC’s concern about the lack of
specificity in determining when “sufficient agreement” exists by acknowledging it (“there is no
universal agreement as to how much correspondence exceeds the best-known nonmatching
situation,” Nichols, supra, at 589) but then attempting to minimize it (“in practice this limitation
is not as significant as critics contend,” id.). Nichols argues that adequate training of firearms
examiners, coupled with routine proficiency testing, provide an acceptable counterbalance to the
lack of standardization of the “sufficient agreement” approach. Id. at 589-90.

         It would be easier to accept Nichol’s assurances that periodic proficiency testing
adequately will ensure against erroneous identifications if there were not so many concerns about
the effectiveness of the proficiency test in preventing erroneous determinations of “sufficient
agreement.” (The exam is prepared by a private firm, Collaborative Testing Services (“CTS”),
and it is the very proficiency test that Sgt. Ensor took and passed annually.) See Monteiro, 407
F. Supp. 2d at 367-68 (discussing the proficiency examination given to forensic firearms and
toolmark examiners and raising questions of how difficult the test is (“in the 2005 CTS cartridge
case examiners none of the 255 test takers nationwide answered incorrectly”) and the conditions
under which it is given (examiners know when they are being tested)) (emphasis in Monteiro).
See also Schwartz, supra, at 24-28 (raising similar concerns).
                                                29
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09    Page 30 of 58



would be. NRC Ballistic Imaging Report, supra, at 1-2.            Characterizing firearm toolmark

identification as “part science and part art form,” id. at 55, the committee found that “[t]he

validity of the fundamental assumptions of uniqueness and reproducibility of firearms-related

toolmarks has not yet been fully demonstrated,” id. at 3. While explaining that it was “stopping

short of commenting on whether firearm toolmark evidence should be admissible,” the

committee said: “Conclusions drawn in firearms identification should not be made to imply the

presence of a firm statistical basis when none has been demonstrated.” Id. at 82. Further, it

stated that “additional general research on the uniqueness and reproducibility of firearms-related

toolmarks would have to be done if the basic premises of firearms identifications are to be put on

a more sold scientific footing.” Id. The committee concluded that a national ballistics database

“of all new and imported guns is not advisable at this time.” Id. at 5.


       Thus, the current analytical framework requires consideration of both the broad issue of

firearm toolmark identification testimony’s admissibility vel non and the narrow issue of

admissibility of the evidence in this case. Put another way, the Court must first determine

whether expert testimony on toolmark identification is admissible under Daubert, Kumho Tire,

and Rule 702. Then, in the event that this Court finds—as have all others before it that have

addressed this issue—that such evidence is admissible in this case, I must determine whether

Sergeant Ensor’s testimony is admissible, based on his qualifications and methodology.


       C. Admissibility of Expert Testimony on Firearms Toolmark Identification




                                                 30
     Case 1:08-cr-00086-ELH           Document 721        Filed 10/29/09        Page 31 of 58



       In his famous essay, Life on the Mississippi, published in 1883, Mark Twain

observed, archly, “There is something fascinating about science.             One gets such

wholesome returns of conjecture out of such a trifling investment of fact.”15


       Both technical publications and court decisions have suggested that the focus in

considering the Daubert factors should be on whether firearm toolmark identification is a

“science,” and if so, whether its methodology will withstand rigorous scientific scrutiny.

Although this debate has yet to be resolved (compare Schwartz, supra, with Nichols, supra), the

latest scientific consensus is as expressed in the NRC Forensic Science Report. Discussing

Daubert, 509 U.S. at 579, the NRC stated: “The law’s greatest dilemma in its heavy reliance on

forensic evidence, however, concerns the question of whether—and to what extent—there is

science in any given forensic science discipline.” NRC Forensic Science Report at 9 (emphasis

in original). To be sure, the NRC observed that “Kumho Tire importantly held that Rule 702


15
              Now, if I wanted to be one of those ponderous scientific people, and “let
       on” to prove what had occurred in the remote past by what had occurred in a
       given time in the recent past, or what will occur in the far future by what has
       occurred in late years, what an opportunity is here! Geology never had such a
       chance, nor such exact data to argue from! Nor “development of species,” either!
       Glacial epochs are great things, but they are vague—vague. Please observe:
               In the space of one hundred and seventy-six years the Lower Mississippi
       has shortened itself two hundred and forty-two miles. That is an average of a
       trifle over one mile and a third per year. Therefore, any calm person, who is not
       blind or idiotic, can see that in the Old Oölitic Silurian Period, just a million years
       ago next November, the Lower Mississippi River was upward of one million three
       hundred thousand miles long, and stuck out over the Gulf of Mexico like a
       fishing-rod. And by the same token any person can see that seven hundred and
       forty-two years from now the Lower Mississippi will only be a mile and three-
       quarters long, and Cairo and New Orleans will have joined their streets together,
       and be plodding comfortably along under a single mayor and a mutual board of
       aldermen. There is something fascinating about science. One gets such
       wholesome returns of conjecture out of such a trifling investment of fact.
MARK TWAIN, LIFE ON THE MISSISSIPPI 155-56 (Harper & Bros. 1950) (1883).
                                                 31
      Case 1:08-cr-00086-ELH           Document 721         Filed 10/29/09       Page 32 of 58



applies to both scientific and nonscientific expert testimony.” Id. at 10 n.15. But, as noted, the

NRC focused principally on subjectivity as a pitfall for toolmark identification tests and

cautioned that the methods “have never been exposed to stringent scientific scrutiny.” Id. at 42.


        Professor Schwartz argues that “firearms and toolmark identifications should be

inadmissible across-the-board” because “similarities between toolmarks made by different tools

and differences between toolmarks made by the same tool imply that a statistical question must

be answered to determine whether a particular tool was the source of an evidence toolmark.”

Schwartz, supra, at 1; see Adina Schwartz, Commentary on Ronald G. Nichols, Defending the

Scientific Foundations of the Firearms and Tool Mark Identification Discipline: Responding to

Recent Challenges, 52 J. FORENSIC SCI. 586, 586 (2007), 52 J. FORENSIC SCI. 1414 (2007).

Professor Schwartz identifies “three major sources of misidentifications by firearms and

toolmark examiners: (1) the individual characteristics of toolmarks are comprised of non-unique

marks, (2) subclass characteristics shared by more than one tool may be confused with individual

characteristics unique to one and only one tool, and (3) the individual characteristics of the marks

made by a particular tool change over time.” Schwartz, supra, at 4. She insists that “all firearms

and toolmark identifications should be excluded until adequate statistical empirical foundations

and proficiency testing are developed for the field.” Id. at 1. Professor Schwartz’s Affidavit and

her testimony in this case rings of the sentiment that firearm toolmark identification is not a

science because toolmark examiners have no reliable methods for determining whether different

toolmarks were created by the same weapon. Aff. 9 ¶ 10; Hr’g Tr. 10/26/09. See Glynn, 578 F.

Supp. 2d at 570 (“ballistics identification analysis . . . could not fairly be called ‘science’”).


        While these critics of the science underlying ballistic toolmark analysis raise legitimate

concerns about whether the process has been demonstrated to be sufficiently reliable to be called

                                                  32
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 33 of 58



a “science,” the defenders of the process—and every federal court to have examined the issue in

a written opinion (albeit with considerable differences in the amount of detail in the analysis)—

have concluded that it is sufficiently plausible, relevant, and helpful to the jury to be admitted in

some form.    Nichols of the ATF Bureau asserts that “the discipline of firearms and tool mark

identification is firmly rooted in the scientific method.” Nichols, supra, at 586; see Ronald G.

Nichols, Author’s Response to Schwartz’s Commentary, supra, 52 J. FORENSIC SCI. 1416

(2007); Diaz, 2007 WL 485967, at *13 (“There is a method and science behind firearm and

toolmark identification.”); Monteiro, 407 F. Supp. 2d at 365 (“Firearm identification evidence

straddles the line between testimony based on science and experience. . . . Science is in the

background, at the core of the theory, but its application is based on experience and training.”).

Even in Glynn, 578 F. Supp. 2d at 573, after determining that toolmark identification is not a

science, the court said that the theory that “unique characteristics of each firearm are to an

appreciable degree copied onto some or all bullets and casings fired from that gun . . . is both

plausible and sufficiently documented by experience as to provide a good working assumption

for most practical purposes.” Accordingly, the Glynn court permitted the introduction of firearm

toolmark identification, with some limitations. Id. at 570.


       Professor Schwartz appears to be particularly pointed in her criticisms of courts for

allegedly failing to “get it” that firearms toolmark identification is not science. See Schwartz,

supra, at 33 (“Despite Daubert, no court has recognized the systemic scientific problems with

firearms identification. Instead, courts have tended to wave away challenges to the reliability

and admissibility of this type of testimony by pointing to its longstanding admission in court.”).

Her testimony at the hearing echoed these concerns. Hr’g Tr. 10/26/09. Professor Schwartz’s

criticism perhaps is understandable, given the courts’ nearly uniform failure to share her view


                                                 33
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09      Page 34 of 58



that the methodology underlying the AFTE theory lacks scientific underpinnings. To date, the

farthest that courts have been willing to go in excluding firearm toolmark identification evidence

is to exclude testimony from individual firearms toolmark examiners who failed to document

their conclusions or have them confirmed by another qualified examiner, see Monteiro, 407 F.

Supp. 2d at 374, or to restrict the degree of certainty to which the examiners could express their

identifications, see Taylor, 2009 WL 3346485, at *9 (“reasonable degree of certainty in the

firearms examination field”); Glynn, 578 F. Supp. 2d at 570 (“more likely than not”); Diaz, 2007

WL 485967, at *11-12 (“reasonable degree of ballistic certainty”); see also Monteiro, 407 F.

Supp. 2d at 355 (stating that appropriate standard is “reasonable degree of ballistic certainty”).

And, in United States v. Natson, 469 F. Supp. 2d 1253, 1261-62 (M.D. Ga. 2007), the court

concluded that the firearms and toolmark examiner’s opinions were admissible, thereby

implicitly, but not explicitly, condoning “100% degree of certainty.”


       However, even were courts widely to accept, as at least one (Glynn, 578 F. Supp. 2d at

570) has, that whatever firearms toolmark identification is, it is not “science,” that would not

presage the exclusion of all firearms toolmark identification evidence. That is because Rule 702

is not limited to admissibility of scientific evidence alone, but also governs “technical” or

“specialized” evidence which, by necessity, does not meet the rigors of scientific analysis. See

Kumho Tire, 526 U.S. at 141; Taylor, 2009 WL 3347485, at *3. Rule 702 permits introduction

of technical or specialized evidence if it is given by qualified witnesses, based on sufficient facts,

and produced through reliable methods that have been applied reliably to the facts of the case, so

long as it is “helpful” to the jury’s understanding of the case or will assist the jurors in making

their factual determinations. Indeed, as Justice Scalia noted in his concurring opinion in Kumho

Tire, the Daubert factors of testability, error rate, peer review, general acceptance, and adherence


                                                 34
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 35 of 58



to standards governing the methodology are relevant to determinations of admissibility under

Rule 702, but they are not “holy writ.” Kumho Tire, 526 U.S. at 159.


       The more accurate characterization of what courts have done with regard to toolmark

identification evidence, at least recently, is to recognize as the NRC Forensic Science Report

clearly did, that if firearms toolmark evidence is characterized exclusively as “science,” it has a

long way to go before it legitimately can claim this status. As the ongoing skirmishes between

Professor Schwartz and Nichols demonstrate, it is far from clear which view will prevail.

Suffice it to say that the concerns expressed by the NRC ought to be heeded by courts in the

future regarding the limits of toolmark identification evidence, and courts should guard against

complacency in admitting it just because, to date, no federal court has failed to do so. But see

Monteiro, 407 F. Supp. 2d at 374 (finding toolmark identification evidence admissible in

general, but excluding a particular expert’s testimony based on his failure to adhere to

methodology). The more difficult task, but one which Daubert, Kumho Tire, and Rule 702

demand, is to determine whether, even if not fully grounded in scientific principles, toolmark

identification evidence is sufficiently relevant, reliable, and helpful to a jury to be permitted as

technical or specialized evidence. See Advisory Committee Note to Rule 702 (“The rule is

broadly phrased. The fields of knowledge which may be drawn upon are not limited merely to

the “scientific” and “technical” but extend to all “specialized” knowledge. Similarly, the expert

is viewed, not in a narrow sense, but as a person qualified by “knowledge, skill, experience,

training or education.” Thus within the scope of the rule are not only experts in the strictest sense

of the word, e.g., physicians, physicists, and architects, but also the large group sometimes called

“skilled” witnesses, such as bankers or landowners testifying to land values.”).




                                                 35
     Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09     Page 36 of 58



       And, as the Taylor, Glynn, Diaz, Monteiro, and Green courts have agreed, even with its

increasingly obvious limitations, toolmark identification evidence is relevant, reliable, and

helpful if offered (a) by a qualified examiner (b) who followed the AFTE theory (despite its

subjectivity) and (c) who documents with notes, photographs, or sketches the conclusions

reached in sufficient detail to permit (d) confirmation by a second qualified examiner of how an

identification was reached (and, at trial, challenge by a defense expert if one has been engaged

for this purpose), so long as (e) the examiner is prevented from making outlandish and

unsupported pronouncements about the degree of certainty of his or her identification. To these

limitations I would add another. To ensure that defense counsel can make any challenges to the

admissibility of toolmark identification evidence and that courts may conduct hearings to resolve

these challenges based on sufficient record, the Government should be required to strictly and

timely comply with its Fed. R. Crim. P. 16 obligations regarding the opinions to be offered by

firearms examiners in sufficient detail and sufficiently far in advance of motions deadlines or

trials as to enable defense counsel to evaluate the conclusions and bases, determine whether to

engage experts to test them, and if appropriate, challenge them.


       While the future may bring greater scientific certainty to toolmark identification evidence

(as the proponents of CMS predict) or, alternatively, prove once and for all that it is not

scientifically reliable, at present it appears to be, with the foregoing safeguards in place,

sufficiently reliable to be helpful to a jury. This is particularly true if defense experts have

adequate access to the factual support for the Government toolmark examiner’s opinions

sufficiently far in advance of trial to be able to rebut or undermine the evidence and to enable a

jury to have a balanced assessment of it and to decide what, if any, weight it deserves.




                                                36
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09     Page 37 of 58



        It is to be hoped, particularly if the Government properly lives up to its disclosure

obligations under Fed. R. Crim. P. 16, that upon receipt of advance disclosure of toolmark

identification evidence, defense counsel will be able to locate toolmark experts of their own.

These experts, it is hoped, will be able to review the notes, photographs, and sketches underlying

the Government’s toolmark identification expert’s opinion and, if necessary, perform their own

independent study of the toolmark evidence itself. If the evidence is deficient, the defense

experts will be able to enable the court to exclude the evidence, or the experts will be able to

rebut it at trial. If so, then the adversary system will have lived up to its obligation to frame the

factual disputes in a fashion that lay juries are equipped to resolve.


        To summarize, several conclusions can be reached. First, as the NRC Ballistic Imaging

Report made clear, despite the many studies conducted by toolmark examiners (see NRC

Ballistic Imaging Report at 64-65, 70-75; Nichols, supra, at 588-89), to date, “[t]he validity of

the fundamental assumptions of uniqueness and reproducibility of firearms-related toolmarks has

not yet been fully demonstrated,” NRC Ballistic Imaging Report at 81, and “[a]dditional general

research on the uniqueness and reproducibility of firearms-related toolmarks would have to be

done if the basic premises of firearms identification are to be put on a more solid scientific

footing,” id. at 82.


        However, the NRC Ballistic Imaging Report stopped short of concluding that all

firearms-related toolmark identification should be excluded as evidence in court, and it

acknowledged that the research studies conducted to date have established a “baseline level of

credibility” that toolmarks are not “so random and volatile that there is no reason to believe that

any similar and matchable marks exist on two exhibits fired from the same gun.” Id. at 81.

Indeed, the NRC Ballistic Imaging Report agreed that “[t]he existing research, and the field’s

                                                 37
      Case 1:08-cr-00086-ELH         Document 721        Filed 10/29/09      Page 38 of 58



general acceptance in legal proceedings for several decades, is more than adequate testimony to

that baseline level.” Id.


       Second, federal courts that have conducted “Daubert” analyses on the admissibility of

firearms-related toolmark identification evidence have attempted, with varying degrees of

success, to apply the non-exclusive evaluative factors of testability, peer review and publication,

error rate, general acceptance, and existence and maintenance of standards governing the

methodology employed in making these identifications. E.g., Taylor, 2009 WL 3347485, at *4-

8; Glynn, 578 F. Supp. 2d at 570-74; Montiero, 407 F. Supp. at 366-72; Green, 405 F. Supp. 2d

at 119-24.


       While, on the existing record, it may be debatable whether it is “science,” it clearly is

technical or specialized, and therefore within the scope of Rule 702. Without repeating what

these courts already have said, I find that the theory underlying firearms-related toolmark

identification has gone through sufficient testing and publication of studies regarding its

reliability and validity to establish a “baseline level of credibility” that sufficiently trained

examiners may be able to identify “matchable marks” existing on bullets or cartridges and that

these matches are relevant to determining whether the bullets or cartridges were fired from the

same firearm. See NRC Ballistic Imaging Report at 81.


       Much has been said about peer review. The theory behind peer review is that observation

leads to commentary, and commentary exposes flawed methodology. Yet, there is a certain

reverence that courts give to peer review that perhaps the scientific community does not share.

Years before Daubert, the New England Journal of Medicine published the following candid

assessment of the peer review process:


                                                38
      Case 1:08-cr-00086-ELH          Document 721          Filed 10/29/09      Page 39 of 58



       [P]eer review is not and cannot be an objective scientific process, nor can it be
       relied on to guarantee the validity or honesty of scientific research, despite much
       uninformed opinion to the contrary. Its functions are more modest but
       nonetheless valuable . . . . [G]ood peer reviewed scientific journals should provide
       their readers with reports of the best available research, free of obvious major
       flaws. Still, although peer review can screen out work that is clearly invalid and
       improve the chances that published work is valid, it cannot guarantee scientific
       validity . . . . If peer review cannot guarantee the validity of research, still less can
       it be relied on to detect fraud.
A. Relman & M. Angell, How Good Is Peer Review, NEW ENGLAND J. OF MED., Sept 21, 1989,

at 827. Put another way, peer review is important, but it has its own limitations. Nonetheless,

the publication of AFTE Journal articles on firearm toolmark identification suggests that the

theory has been subjected to peer review.


       Additionally, I find that, despite its inherent subjectivity, the AFTE theory of firearms-

related toolmark identification, which has as its primary objective the determination of whether

“sufficient agreement” exists between examined bullets or cartridges to enable a toolmark

examiner to conclude that there is a “match,” has been generally accepted within the field of

toolmark examiners, and that, despite the fact that there is “no universal agreement as to how

much correspondence exceeds the best known nonmatching situation,” Nichols, supra, at 589,

the AFTE training courses and CTS proficiency testing (with all of its limitations) demonstrate

the existence of standards governing the methodology of firearms-related toolmark examination

to enable a properly trained examiner to provide in-court technical testimony that will be

sufficiently reliable and helpful to a lay jury to assist the jurors in determining whether bullets or

cartridges have been fired from a particular firearm, with two important qualifications.


       First, as already stated, the conclusion expressed by a firearms toolmark examiner that a

match exists is only as good as the underlying photographs, sketches, and notes that support it,

and these materials are critical to ensuring that juries are able to learn of any deficiencies that

                                                  39
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 40 of 58



may exist at trial through effective cross-examination of Government toolmark identification

witnesses, or testimony by defense rebuttal witnesses. For this reason, where a defendant has

made a timely demand pursuant to Fed. R. Crim. P. 16(a)(1)(G) for a written summary of any

testimony the Government intends to offer regarding firearms-related toolmark identification, the

summary is useless if not accompanied by “bases and reasons” that support it. And, with regard

to firearms toolmark identification, that includes the sketches, diagrams, notes, and photographs

that the accepted methodology for application of the AFTE theory requires that the firearms

examiner make.


       Second, and of critical importance, I find that firearms toolmark identification evidence is

only relevant, reliable, and helpful to a jury if it is offered with the proper qualifications

regarding its accuracy.     As the NRC Ballistic Imaging Report helpfully noted, “firearms

examiners may often express their findings in bold absolutes—matches made to the same gun, to

the exclusion of all other firearms in the world . . . .” NRC Ballistic Imaging Report at 67. There

is an inherent bias underlying this tendency because “[i]f a firearms examiner is impeached

through the voir dire process, his or her ability to testify in other cases can be severely affected;

being associated with an error or misidentification can tarnish reputations.” Id.


       From my reading of the many published studies, journal articles, and cases referenced in

this Report and Recommendation, it appears that the best that the AFTE theory can offer a jury is

the conclusion that the matches between the bullets or cartridges at issue exceed the number of

matches between bullets or cartridges known to have been fired from different firearms, and that

the matches are “consistent with” (an inherently ambiguous standard for which there is no

agreement as to how much correspondence must be shown, Nichols, supra, at 589) matches

between bullets or cartridges known to have been fired from the same firearm. And, as noted in

                                                 40
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 41 of 58



the NRC Ballistic Imaging Report, respected studies have shown that “the average percent match

for bullets from the same gun is low and the percent match for bullets from different guns is

high.” NRC Ballistic Imaging Report at 65 (quoting A.A. Biasotti: 1959, supra, at 37-44).


       When it is reduced to its essentials, the “sufficient agreement” conclusion can hardly be

regarded as an absolute identification, as even its most ardent supporters must concede. See

Nichols, supra, at 590 (“The AFTE Theory of Identification . . . does not make claims of

absolute identification.”). Yet, astonishingly, the AFTE theory purports to demonstrate that once

“sufficient agreement” has been found by one examiner, “the likelihood another tool could have

made the mark is so remote as to be considered a practical impossibility.” Id.


       Based on the materials that I have reviewed and the testimony at the hearing, I find that

there is no meaningful distinction between a firearms examiner saying that “the likelihood of

another firearm having fired these cartridges is so remote as to be considered a practical

impossibility” and saying that his identification is “an absolute certainty.” Neither is justified

based on the testimony at the hearing or the literature and cases reviewed and discussed in this

Report and Recommendation, and neither is warranted by the facts of this case.


       Moreover, I agree with the courts in Taylor, 2009 WL 3347485, at *9; Glynn, 578 F.

Supp. 2d at 570; Monteiro, 407 F. Supp. 2d at 355; Diaz, 2007 WL 485967, at *11-12; and

Green, 405 F. Supp. 2d at 108-09, that firearms and toolmark examiners must be restricted in the

degree of certainty with which they express their identification opinions. Given Sgt. Ensor’s

testimony at the hearing, I am reluctant to recommend that he be permitted to testify that he

holds his amended identification opinion to “a reasonable degree of ballistic or technical

certainty.” See Monteiro, 407 F. Supp. 2d at 355; Diaz, 2007 WL 485967, at *11-12; see also


                                                41
      Case 1:08-cr-00086-ELH            Document 721        Filed 10/29/09      Page 42 of 58



Taylor, 2009 WL 3347485, at *9 (“reasonable degree of certainty in the firearms examination

field”).


           During cross examination, Sgt. Ensor testified that his own personal examination of

various cartridges and bullet fragments, which were confirmed by another qualified examiner in

his own lab, led him to look for matches to those bullet components among firearm evidence

gathered in connection with other criminal investigations. Hr’g Tr. 10/26/09. He scanned the

images of the evidence examined by his lab into the National Integrated Ballistic Identification

System (IBIS), which printed out a long list of possible matches with evidence reviewed by other

labs in other criminal investigations.       Id. Among the matches were a series of cartridges

examined by firearms toolmark examiners in Baltimore City Case No. 9335, dealing with a

homicide. Id. He testified that he then undertook to compare some, but not all, of the cartridges

in this case, Baltimore County Case No. 1496, with some, but not all, of the cartridges examined

by the Baltimore City toolmark examiner.16 Id. Based on this limited physical examination of

the Baltimore City evidence, Sgt. Ensor reached one of the conclusions expressed in his

September 27, 2007 Amended Report (Report 2), namely:


           Q1, Q2, Q3, Q4, Q5, Q6, Q7, Q8, Q9, Q10, Q11, Q12 and Q13 (cartridge cases)
           from Baltimore City Police CC#062K09335 (“Homicide”) were fired in the same
           unknown firearm as QC-2, QC-3 and QC-4 in this case.
Aff., Ex. B.


           Reading Report 2, it is impossible to appreciate that Sgt. Ensor and his colleagues did not

personally compare all the cartridges in Case No. 1496 against all of the cartridges in Case No.

9335. Beyond the limited physical examination he did make of the evidence in the City Case,
16
  From Sgt. Ensor’s testimony at the October 26, 2009 hearing, it is not entirely clear whether he
compared one or more than one of the cartridges in Case No. 1496 with one or more than one of
the cartridges in Case No. 9335. In any event, it is clear that he did not examine every cartridge.
                                                   42
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 43 of 58



Sgt. Ensor assumes that the cartridges in Case No. 1496 matched the City cartridges he did not

examine, because a Baltimore City toolmark examiner—whose qualifications, proficiency, and

adherence to proper methodology is unknown—said they did. Given the importance that the

AFTE theory places on the experience and proficiency of the individual examiner, see Nichols,

supra, at 589, the lack of information about who conducted the individual examinations in the

City Case, as well as the lack of information regarding the examiner’s qualifications, training,

proficiency, and whether the examiner has been subject to annual proficiency CTS examination,

as has Sgt. Ensor, is significant. The jury will be deprived of any information on which to

evaluate what weight, if any, to be given to the Baltimore City examiner’s conclusions.


       Accordingly, because Sgt. Ensor’s own opinion, for lack of a more elegant expression,

piggybacks on those of an unknown Baltimore City examiner, I recommend that Sgt. Ensor not

be able to express his opinions to the same degree of certainty as other courts have permitted in

Taylor, Glynn, Diaz, or Monteiro. As noted, infra, I am recommending that Sgt. Ensor: (1) be

permitted only to state his opinions and bases without any characterization as to degree of

certainty (whether “more likely than not” or “to a reasonable degree of ballistic certainty”) and

that if Judge Quarles does not agree with its limitations, that, at a minimum, Sgt. Ensor not be

allowed to opine that it is a “practical impossibility” for any other firearm to have fired the

cartridges other than the common “unknown firearm” to which Sgt. Ensor attributes the

cartridges (which the Government concedes it will not seek to have him do, Hr’g Tr. 10/26/09);

(2) if Judge Quarles does not determine to impose this much of a restriction, then, alternatively, I

recommend that Sgt. Ensor only be allowed to express his opinions “more likely than not,” as in

Glynn; or (3) at most, “to a reasonable degree of ballistic certainty,” as in Monteiro and Diaz.




                                                43
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 44 of 58



         I note in making this recommendation that there is nothing in Rule 702, Daubert, Kumho

Tire, or the other cases analyzing this type of evidence, that an expert is required to express any

particular level of confidence in the degree of accuracy in his opinions. See Samuel v. Ford

Motor Co., 112 F. Supp. 2d 460, 470 (D. Md. 2000) (stating that an expert need not “testify with

absolute certainty, or without any doubt whatsoever,” provided that “the opinion has a tendency

to prove a consequential fact by probability”), aff’d, 95 Fed. App’x 520 (4th Cir. 2004); see also

Glynn, 578 F. Supp. 2d at 574 (an “exalted level of certainty” is not required for evidence to be

admissible). Such an estimate, even if supported by the facts, goes to the weight of the evidence,

not its admissibility. And, without a proper basis for supporting the confidence level testified to,

there is a real danger of misleading the jury.


         D.     Qualifications of Sergeant Ensor to Testify


         Having determined that, as qualified above, the Government should be permitted to

introduce opinion testimony regarding firearms toolmark identification because such evidence is

admissible under Daubert, Kumho Tire, and Rule 702, it remains to be determined whether Sgt.

Ensor, the Government’s witness, is qualified pursuant to Fed. R. Evid. 702—that is, whether he

possesses sufficient “knowledge, skill, experience, training, or education” to offer helpful

opinion testimony (qualified as mentioned, supra) on the subject of firearm toolmark

identification. For the following reasons, I conclude that he does, with the restrictions already

noted.


         Sgt. Ensor has been with the Baltimore County Police Department (“BCPD”) since 1983,

and he has worked in the Forensic Services Section for more than twenty years. Docs. 223. In

1995, he completed a three-year training program in firearm and toolmark identification, based


                                                 44
     Case 1:08-cr-00086-ELH         Document 721        Filed 10/29/09     Page 45 of 58



on the AFTE Manual, at the Maryland State Police Crime Laboratory. Docs. 225. He attended

the week-long AFTE National Training Seminar annually from 1995 through 2002, and also in

2004, 2006, 2008, and 2009. Docs. 228. In addition, he attended the two-day Eastern Regional

Firearms and Tool Mark Training Seminar five times. Docs. 225-27. He also has attended week-

long programs, such as the FBI “Specialized Techniques in Firearms Identification School” and

Forensic Technologies Integrated Ballistics Identification System training, and a two-day

workshop on source tool recognition. Docs. 226-27. Further, he “[p]articipated in developing

and administering the procedures and standards affecting the Firearms Identification Unit for the

Baltimore County Police Forensic Services Section, subsequently meeting the prescribed

requirements of the American Society of Crime Laboratory Directors Laboratory Accreditation

Board and achieving accreditation for the unit.” Docs. 226. Sgt. Ensor is AFTE-certified in

firearm and toolmark evidence examination and identification; he is a member of the AFTE; and

he has passed the CTS firearms proficiency test annually since 1998. Docs. 229-41.


       E.     Documentation and Peer Review


       With regard to documentation, the Government initially, on August 7, 2009, produced

three reports that Sgt. Ensor prepared, dated August 10, 2007 (“Report 1”), September 27, 2007

(“Report 2”), and July 23, 2008 (“Report 3”). On or about October 16, 2009, the Government

reproduced Reports 1 and 2, along with 239 pages that contain the documentation underlying

Sgt. Ensor’s identifications and the review done by other examiners to confirm it.17 At the

hearing, twenty-six additional documents of the same nature were produced. Hr’g Tr. 10/26/09.



17
  On October 21, 2009, the Government provided the Court with a binder of these same
documents (“Docs.”).

                                               45
      Case 1:08-cr-00086-ELH        Document 721       Filed 10/29/09     Page 46 of 58



While this supplementation was appropriate, it came one week before trial, and such a belated

disclosure is far from timely.


       The supplemental documents produced on or about October 16, 2009, included another

report from July 23, 2008 (“Report 4”), as well as sixty-three pages of documentation and

photographs;18 BCPD Standard Operating Procedures for Firearms and Toolmark Identification

(“SOPs”); Sgt. Ensor’s curriculum vitae; and the Certificate of Accreditation for the BCPD

Forensic Services Division. Docs. 72-246. The documents produced at the hearing on October

26, 2009, included a report that Michael J. Thomas conducted on April 28, 2006 (“Report 5”); a

report that Thomas conducted on August 27, 2007 (“Report 6”); a Comparison Verification sheet

for Report 4, filled out on May 1, 2006; and supporting documents. Hr’g Tr. 10/26/09.


       The documentation produced on or about October 16, 2009, includes Bullet and Cartridge

Case Examination Worksheets, with photographs, that Sgt. Ensor prepared in February and July,

2007, Docs. 38, 39, 47, 51. Sgt. Ensor also prepared thirteen pages of additional notes with

various comparison images and photographs, in January, February, and July 2007. Docs. 11, 18,

19, 20, 37, 42-46, 48-50, 52, 69. A number of the documents were completed by Officer Jeff

Schaub, a firearms examiner trainee in the Firearms Identification Unit of the Forensic Services

Section of the BCPD, under Sgt. Ensor’s supervision: Bullet and Cartridge Case Examination

Worksheets from January, July, and August, 2007, Docs. 16, 21, 23, 28, 29, 33; notes from

January, February, June, and July, 2007, Docs. 10, 22, 34, 36, 35; IBIS Correlation Results and

database search results from December, 2006, and February, 2007, Docs. 17, 24-27, 31-32, 40-

41; and two comparison images, Docs. 30. The documents also included three Image


18
  Reports 3 and 4 appear to be based on the same examination and contain the same results.
Report 4 was prepared for this case, while Report 3 was prepared for a separate case.

                                              46
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 47 of 58



Comparison pages printed in June 2007, and initialed by Ofc. Schaub in July 2007, Docs. 12-14;

notes and photographs in other cases, Docs. 9, 15; and twelve inventory pages, Docs. 54-65.


       Summarizing, on August 7, 2009, one week before the deadline for filing defense

motions, the Government produced Sgt. Ensor’s first three reports, absent any supporting

documents. After the motions were filed, and following the October 15, 2009 hearing, 239 pages

of documents constituting the bases for Sgt. Ensor’s reports were produced, and finally, at the

October 26, 2009 hearing, an additional series of twenty-six documents were produced. While

arguably produced in sufficient time to allow Defense Counsel to make eleventh hour

preparations to use it at trial, the disclosure of the documents constituting the support and bases

for Sgt. Ensor’s opinions was requested as early as May 2009, and should have been produced

under Fed. R. Crim. P. 16 far earlier than it was. Its belated production affected not only

Defense Counsel, but also the undersigned’s ability to conduct an effective hearing and complete

a helpful report and recommendation.


       What the late-produced reports do demonstrate is the documentation underlying Sgt.

Ensor’s opinions, and that his opinions were “peer reviewed” by other examiners, the two

procedural conditions precedent to admissibility required by the Monteiro court. Also Sgt.

Ensor’s late-produced curriculum vitae shows his qualifications, discussed supra. Thus, with the

restrictions stated in this Report and Recommendation, I find that Sgt. Ensor is qualified to

provide opinion testimony in this case.


       II.     Defendant Mouzone’s Rule 16 Motion

       Defendant Mouzone claims that, as of the hearing on October 15, 2009, despite his

repeated requests by mail, phone, and e-mail for “written reports, bench notes, photographs,



                                                47
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 48 of 58



manuals, and laboratory standards relevant to the testing and for curriculum vitae of all

examiners,” the Government “has provided only the barest summary of the examiner’s

conclusions but nothing at all as to the bases of fact on which this opinion is based, nor the

examiner’s qualifications,” nor “any other documents to support this intended conclusion.”

Def.’s R. 16 Mot. ¶¶ 3-5. Defendant Mouzone asserts that he first requested these documents

from the Government on May 15, 2009, but the Government did not produce any documents

until August 7, 2009, at which time it produced only Sgt. Ensor’s conclusions. Id. ¶¶ 6-7. He

points out that the Court-imposed pretrial motion deadline was August 14, 2009, and trial is set

for November 2, 2009. Id. ¶¶ 7, 14. He insists that his resulting inability “to consult with an

appropriate expert” prejudiced his defense and therefore “the appropriate sanction is to prohibit

the government from introducing this evidence” at trial.19 Id. ¶¶ 7, 11.



19
  It cannot seriously be denied that production of such important evidence, long in the
possession of the Government, one week before the deadline for filing motions in limine raises
the suspicion that the timing of the disclosure was calculated to place Defendant Mouzone at a
tactical disadvantage in challenging the evidence.

       At the hearing held on October 15, 2009, the Assistant United States Attorney who is
prosecuting this case acknowledged that he had been in possession of the documents that
memorialized the firearms toolmark identification evidence (but not the underlying photographs
and notes) for two years, yet the press of other cases and the fact that this case was indicted as a
multi-defendant case, prevented him from realizing earlier just how much information there was.
He advised the Court that there had been no intent to hamper Defendant Mouzone’s trial
preparation.

        I have no reason to question the sincerity or credibility of this explanation. However, to
accept it is not to condone it. If Defense Counsel had not so vigorously pursued the matter and
the Court had not been able to address it when it did, the delay in production might very well
have warranted a harsher sanction against the Government than recommended by this Report and
Recommendation. As it stands, while Defense Counsel and the Court have now been provided
with all the materials that should have been produced, they were received less than two weeks—
some only one week—before the trial starts. This is far too little time to enable either effective
analysis and preparation of a rebuttal by the Defendant or deliberate consideration by the Court
of any challenge to the admissibility of the toolmark identification evidence. This belated
disclosure led to Judge Quarles having to refer this hearing to the undersigned to conduct an
                                                 48
     Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 49 of 58



       Alternatively, Defendant Mouzone asked that the Court “order the government to

immediately produce” the relevant documents. Id. ¶ 14. On October 16, 2009, after Defendant

Mouzone filed his Rule 16 motion but without a Court order, the Government produced Sgt.

Ensor’s curriculum vitae and proficiency test results; bench notes from Sgt. Ensor and his

colleagues; comparison images and other photographs; Comparison Verification sheets; BCPD’s

Firearms and Toolmark Identification SOPs; and the Certificate of Accreditation for the BCPD

Forensic Services Division. Docs. 1-246.       Further, on October 26, 2009, the Government

produced additional reports and supporting documentation. Docs. 247-72.


        Rule 16(a)(1)(F)-(G) provides:

               (F) Reports of Examinations and Tests. Upon a defendant's request, the
       government must permit a defendant to inspect and to copy or photograph the
       results or reports of any physical or mental examination and of any scientific test
       or experiment if:

               (i) the item is within the government's possession, custody, or control;

              (ii) the attorney for the government knows—or through due diligence
       could know—that the item exists; and

              (iii) the item is material to preparing the defense or the government
       intends to use the item in its case-in-chief at trial.

              (G) Expert witnesses.—At the defendant's request, the government must
       give to the defendant a written summary of any testimony that the government
       intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence
       during its case-in-chief at trial. . . . The summary provided under this
       subparagraph must describe the witness's opinions, the bases and reasons for
       those opinions, and the witness's qualifications.

Fed. R. Crim. P. 16(a)(1)(F)-(G) (emphasis added). It is undisputed that the Government did not

provide Sgt. Ensor’s qualifications or “the bases and reasons” for Sgt. Ensor’s opinions until

expedited hearing and prepare a Report and Recommendation, which itself will of necessity be
issued within a week of trial. Thus, the Government’s failure to live up to its Rule 16 obligations
not only had serious adverse impact on the Defendant, but also on the Court.
                                                49
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09      Page 50 of 58



October 16, 2009, five months after Defendant Mouzone’s request and seventeen days before

trial. Moreover, the Government did not complete its disclosure of Sgt. Ensor’s reports and

bench notes until October 26, 2009, one week before trial.


       Rule 16 does not impose a deadline for the defendant’s request or the Government’s

production, but “it is expected that the parties will make their requests in a timely fashion.”

Amendments to Fed. R. Crim. P., 147 F.R.D. 387, 473 (1993). In United States v. Richmond,

153 F.R.D. 7, 8 (D. Mass. 1994), the court addressed “the time within which the government

must make the disclosure mandated by Rule 16(a)(1)(E)” (later relettered as Rule 16(a)(1)(G)).

Reasoning that the Rule “‘is intended to minimize surprise that often results from unexpected

expert testimony, reduce the need for continuances, and to provide the opponent with a fair

opportunity to test the merit of the expert's testimony through focused cross-examination,’” the

court concluded that, to the extent possible, the Government should produce the requested

summary “forthwith upon the defendant’s request.” Id. (quoting Amendments to Fed. R. Crim.

P., 147 F.R.D. at 473). The court said that if “the government's trial preparation has not

proceeded to the point where an expert's written summary has been prepared or can be prepared”

when the defendant makes a Rule 16 request, then the Government must provide the summary

“not less than forty-five calendar days before trial.” Id. Accord United States v. Palmero, No. 99

CR. 1199, 2001 WL 185132 (S.D.N.Y. Feb. 26, 2001) (unpublished) (“Forty-five days prior to

trial is not at all out of line with the purpose of the Rule.”) (citing Richmond, 153 F.R.D. at 8-9).


       Here, the Government’s full disclosure was a far cry from “forthwith upon the

defendant’s request,” Richmond, 153 F.R.D. at 8, trailing Defendant Mouzone’s May 15, 2009,

request by more than five months, and following Defendant Mouzone’s Rule 16 motion and a

hearing on the motion on October 15, 2009, Paper No. 669. Moreover, the Government’s earlier

                                                 50
     Case 1:08-cr-00086-ELH           Document 721        Filed 10/29/09      Page 51 of 58



disclosure on August 7, 2009, was neither prompt nor complete. And, the Government conceded

that it had the reports in its possession for two years prior to the request, attributing its tardy

production to a miscalculation of the time needed to locate and produce the documents. Hr’g Tr.

10/15/09. Full disclosure came only week before trial.


       The failure to produce the documents constituting the bases and reasons for Sgt. Ensor’s

firearms toolmark identifications was particularly troublesome in this case because, as the

preceding pages of this Report and Recommendation attest, there is a substantial debate within

the scientific community, as well as the Courts, regarding the degree to which firearms toolmark

identification evidence passes muster under Fed. R. Evid. 702 and Daubert. As the literature,

publications, and cases discussed earlier reveal, the subjectivity of firearms toolmark

identification methodology places a great degree of emphasis on the individual’s training and

proficiency, and the AFTE methodology requires proper documentation by notes, sketches, and

photographs that illustrate how the examiner reached his or her conclusions, so that other

examiners may confirm the conclusions by reference to the supporting materials. The Courts

that, in increasing number, have expressed concerns regarding the reliability of firearms

toolmark identification evidence, have permitted its introduction in spite of their concerns, in

substantial reliance on the ability of defense counsel to be able to challenge the identification at

trial through effective cross-examination, or by offering defense experts to challenge it. In

addition to the importance of effective cross-examination or rebuttal to the Court and the

Defendant, it is even more important to the jury, which is charged with deciding how much, if

any, of it to accept. In this context, the production seventeen days before trial of 239 pages of

additional documents relevant to Sgt. Ensor’s expert testimony (and that only after a motion had

been filed and a hearing held), and the production one week before trial of twenty-six additional


                                                51
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09         Page 52 of 58



pages is disdainful of the Defendant’s due process rights to a fair trial, the Court’s obligation to

ensure one, and the jury’s obligation to make sense out of a highly technical subject matter that

has generated intense disagreement within the scientific, technical, and judicial communities.


       “Rule 16 grants the district court substantial discretion in dealing with a violation of a

discovery order.” United States v. Hammoud, 381 F.3d 316, 336 (4th Cir. 2004), vacated on

other grounds, 543 U.S. 1097 (2005).          Indeed, a court may order discovery; “grant a

continuance”; “prohibit that party from introducing the undisclosed evidence”; or “enter any

other order that is just under the circumstances.” Fed. R. Crim. P. 16(d)(2). The Fourth Circuit

outlined the factors a district court should consider in applying appropriate sanctions for a

discovery violation under Fed. R. Crim. P. 16(d)(2). It stated that the court:


       “must weigh the reasons for the government's delay and whether it acted
       intentionally or in bad faith; the degree of prejudice, if any, suffered by the
       defendant; and whether any less severe sanction will remedy the prejudice and the
       wrongdoing of the government.”
Id. (quoting United States v. Hastings, 126 F.3d 310, 317 (4th Cir. 1997), cert. denied, 523 U.S.

1060 (1998) (identifying the factors with regard to imposing sanctions for the Government’s

refusal to comply with court-ordered discovery)). In Hastings, the Fourth Circuit held that

“dismissal of the indictment against Hastings was an extreme and inappropriate sanction”

because “[w]hen a court sanctions the government in a criminal case for its failure to obey court

orders, it must use the least severe sanction which will adequately punish the government and

secure future compliance.” 126 F.3d at 317.


       As noted, the Government’s delay in producing the scant summary was occasioned by

poor time management, which, however understandable, may not be condoned.                        The

Government attributed its delay in producing the supporting documents to difficulty obtaining


                                                52
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09      Page 53 of 58



the documents from the witness and his laboratory. Hr’g Tr. 10/15/09. Although these reasons

do little to justify the delay, they do not suggest any intentional or bad faith conduct on the part

of the Government.


        As for prejudice, I find that the prejudice that resulted from the Government’s initial

incomplete disclosure was great. Firearms toolmark identification is “admittedly ‘subjective’

and based on experience and training of the individual examiner.” Monteiro, 407 F. Supp. 2d at

366. Therefore, peer review and documentation are prerequisites to admissibility, and the

examiner’s qualifications are of utmost importance. Id. at 355.          With regard to firearms

identification testimony, documentation and verification of the basis for any identification are

critical.   See id.   Without this information, and without any description of Sgt. Ensor’s

qualifications, the Government’s August 7, 2009 summary did not provide sufficient information

to be admissible at trial. See id. As a result, Defendant Mouzone could not determine the

reliability of Sgt. Ensor’s work, whether he had to defend against Sgt. Ensor’s conclusions, or if

so, how to build that defense. See United States v. De La Rosa, 196 F.3d 712, 716 (7th Cir.

1999) (“‘A defendant is prejudiced under Rule 16 only when he is unduly surprised and lacks an

adequate opportunity to prepare a defense, or when the violation substantially influences the

jury.’”) (citation omitted). Cf. United States v. Taylor, 857 F.2d 210, 215 (4th Cir. 1998)

(concluding that there was no prejudice caused by the Government’s delay in producing an FBI

surveillance report because it “was largely duplicative of grand jury testimony” that the

defendant already had received).


        But, the prejudice caused by this incomplete disclosure has been tempered by the delivery

of the requested documents in time for Defense Counsel to review the documents and consult an

expert and for this Court to hold a hearing and proceed to trial. In this regard, United States v.

                                                53
      Case 1:08-cr-00086-ELH          Document 721        Filed 10/29/09     Page 54 of 58



Stevens, 380 F.3d 1021 (7th Cir. 2004), is informative. There, the Government produced its

fingerprint expert’s report only one week before trial, but on the same day that the evidence

came into the Government’s possession. Id. at 1024-26. Reasoning that the defendant had the

opportunity to cross-examine the Government’s fingerprint witness, and could have requested a

continuance to secure his own fingerprint expert, but failed to do so, the Seventh Circuit

concluded that the defendant was not prejudiced by the Government’s tardy disclosure under

Rule 16. Id. at 1025-26. See also United States v. Douglas, 862 F. Supp. 521, 526 (D.D.C. 1994)

(concluding that Government’s failure to produce evidence in discovery did not prejudice

defendant because defense counsel could have (but did not) request a continuance, which would

have “alleviate[d] the prejudice”; noting that “[s]everal courts have held that when defense

counsel fails to request a continuance after a discovery delay, such failure erases any potential

prejudice created by the delay”), aff’d without op., 70 F.3d 638 (D.C. Cir. 1995).


          With regard to an appropriate sanction in this case, the merit of ordering production at

this late juncture is moot, as the Government now has satisfied the request. See United States v.

Bates, No. 02-80948, 2005 WL 2218902, at *5 (E.D. Mich. Sept. 13, 2005) (unpublished) (“The

conventional remedies proposed by Rule 16(d)(2), such as permitting discovery of the

undiscovered materials, are moot, given the ultimate disclosure of the reports.”).        Further,

because the Government has satisfied the request, it would be too severe a sanction to dismiss

the indictment or to bar the Government from introducing the evidence. See Hastings, 126 F.3d

at 317.


          While the late production by the Government has clearly imposed a burden on Defendant

Mouzone’s counsel in having to do last minute preparation for trial, there also is a monetary

consequence, involving the expense of additional work by the court-appointed attorney to obtain

                                                 54
      Case 1:08-cr-00086-ELH           Document 721        Filed 10/29/09       Page 55 of 58



the documents at issue, and additional work by Defendant Mouzone’s expert witness to

challenge the admissibility of seemingly inadmissible skeletal reports that have since been

substantiated. Recently, in United States v. Jones, 620 F. Supp. 2d 163 (D. Mass. 2009), after

the prosecutor failed to disclose material exculpatory information from her notes after the

defendant requested such information, the court found that the prosecutor exhibited “inexcusable

ignorance, or a reckless disregard, of a constitutional duty,” id. at 179, and concluded that the

court could impose a monetary sanction on her and the United States Attorney’s Office, id. at

178.20 As authority, the court quoted Rule 16’s provision for sanctions including “‘any [ ] order

that is just under the circumstances.’” Id. at 179 (quoting Fed. R. Crim. P. 16(d)(2)(D)).

Alternatively, the court said that it had “the authority to impose monetary sanctions on [the

prosecutor] as an exercise of its inherent supervisory powers.” Id. (citing Chambers v. NASCO,

501 U.S. 32, 45-46 (1991)). It noted that “‘a court’s array of supervisory powers includes the

power to assess attorenys’ fees against other parties or their attorneys in befitting situations.’” Id.

(quoting United States v. Horn, 29 F.3d 754, 760 (1st Cir. 1994)). However, in Horn, the First

Circuit cautioned that although it would “consider unleashing the supervisory power in criminal

cases ‘[w]hen confronted with extreme misconduct and prejudice,’ in order ‘to secure

enforcement of “better prosecutorial practice and reprimand of those who fail to observe it,”’”

the doctrine “applies only when there is no effective alternative provided by rule, statute, or

constitutional clause.” 29 F.3d at 760 (citations omitted).


       My research has not uncovered any other case suggesting that monetary sanctions could

be imposed for failure to comply with Rule 16. To the contrary, the Ninth Circuit held that

20
  Ultimately, the court did not impose monetary sanctions, requiring instead attendance at “an
educational program concerning discovery in criminal cases” and a later showing of progress by
the United States Attorney and the prosecutor, and a statement as to “why sanctions should not
be imposed in this matter.” Id. at 185.
                                                  55
      Case 1:08-cr-00086-ELH          Document 721         Filed 10/29/09      Page 56 of 58



monetary sanctions were not appropriate under Rule 16 because the Rule does not provide an

express waiver of sovereign immunity and, unlike Fed. R. Civ. P. 11 and 37(b), Fed. R. Crim. P.

16 “provides no independent authority for a monetary sanction.” United States v. Woodley, 9

F.3d 774, 781 (9th Cir. 1993). Similarly, in Bates, 2005 WL 2218902, at *5, the court concluded

that “principles of sovereign immunity preclude ordering the government to reimburse” the

defense for its expenditure of “additional time and limited monetary resources as a result of the

government’s Rule 16 violations.” But, the court stated that its “Opinion and Order may

appropriately be factored into any request for additional funds under the Criminal Justice Act.”

Id.


       Of the possible sanctions, a continuance is most appropriate, if Defendant Mouzone

requires more time for a defense expert to prepare for trial and if Defendant Mouzone is

amenable to the postponement. To be sure, Defendant Mouzone did not expressly request a

continuance. Nonetheless, a continuance is “just under the circumstances.” Fed. R. Crim. P.

16(d)(2)(D). Should Defendant Mouzone request a continuance in order to attempt to locate a

rebuttal expert to challenge Sgt. Ensor’s identifications (Professor Schwartz is not a firearms

toolmark examiner and therefore cannot express opinions regarding the actual identifications

done by Sgt. Ensor), I would recommend that that request be granted. I also recommend that any

additional funds be approved under the Criminal Justice Act to pay for any additional expert time

on the part of Professor Schwartz or any other expert sought by Defendant Mouzone.


       Further, to ensure that there are no future failings of this magnitude to live up to the letter

and spirit of Rule 16, I recommend that Judge Quarles order the United States Attorney’s Office

to provide a written report which identifies any policies and training in existence regarding



                                                 56
     Case 1:08-cr-00086-ELH             Document 721           Filed 10/29/09   Page 57 of 58



compliance with Rule 16 discovery obligations, to include how the policy is implemented and

monitored to ensure compliance.


       Finally, I recommend that Judge Quarles not allow the Government to imply that the

Defendant had, but did not take, the opportunity to hire an expert to visit the BCPD Forensic

Services Division laboratory and review the evidence. Further, I recommend that Judge Quarles

not allow Sgt. Ensor or any other Government witness to testify to that effect. Given that

Defendant Mouzone repeatedly requested evidence in this case without receiving a response

from the Government, it would be unfair to suggest that he had the opportunity to hire an expert

or review the evidence.


       III.      Recommendations


       I recommend:


       (1) That Sgt. Ensor not be allowed to opine that it is a “practical impossibility” for any

              other firearm to have fired the cartridges other than the common “unknown firearm”

              to which Sgt. Ensor attributes the cartridges;

       (2) Additionally, that Sgt. Ensor only be permitted to state his opinions and bases without

              any characterization as to degree of certainty (whether “more likely than not” or “to a

              reasonable degree of ballistic certainty”);

       (3) Alternatively, if you disagree with Recommendation No. 2, that Sgt. Ensor only be

              allowed to express his opinions “more likely than not”;

       (4) Alternatively, if you disagree with Recommendation Nos. 2 and 3, that Sgt. Ensor

              only be allowed to express his opinions “to a reasonable degree of ballistic or

              technical certainty” (or any other version of that standard);


                                                   57
Case 1:08-cr-00086-ELH         Document 721        Filed 10/29/09       Page 58 of 58



 (5) That Defendant Mouzone be granted a continuance to attempt to locate a rebuttal

    expert to challenge Sgt. Ensor’s identifications, if he so requests;

 (6) That additional funds be approved under the Criminal Justice Act to pay for any

    additional expert time on the part of Professor Schwartz or any other expert sought by

    Defendant Mouzone to testify at trial, if permitted by the Court;

 (7) That the United States Attorney’s Office be required to provide a written report which

    identifies its policies and training regarding compliance with Rule 16 discovery

    obligations, to include how the policy is implemented and monitored to ensure

    compliance; and

 (8) That the Government not be permitted to argue or imply that the Defendant had, but

    did not take, the opportunity to hire a firearms toolmark identification expert to visit

    the BCPD Forensic Services Division laboratory and review the evidence, and that no

    Government witness be permitted to testify that such an opportunity existed.




 Dated: October 29, 2009                              _______/S/________
                                                         Paul W. Grimm
                                                 United States Magistrate Judge




                                         58
